Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 1 of 13 PageID# 14888
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 2 of 13 PageID# 14889
                                                                   Exhibit C - NS Amended Exhibit List


Ex. No. Description / File Name                                 Bates Begin       Bates End            Date       Dep. Exhibit or Alt. Reference   CSX Objections
                                                                SDT RES N
   1    VIT Document                                            000001            SDT RES N 000001                                               NO
                                                                                                                Allan_10; Booth_12; Eliasson_06;
   2    NS (CSXT)  NPBL Operating Agreement (7-7-1897) pdf NSR 00000102          NSR 00000109         7/7/1897 Ingram 14                        NO
                                                                                                                Hall_02; Moss_01; NPBL_01;
   3    NPBL Operating Agreement pdf                            CSXT0000767       CSXT0000774          7/7/1897 Summy_01                         NO

   4    NPBL Operating Agreement                                 CSXT0086338      CSXT0086345          7/7/1897 Armbrust 01; Booth 01; Burns 03 NO
   5    1897 Agreement                                           NPBL000001       NPBL000007           7/7/1897                                 NO
   6    NPBL000023 pdf                                           NPBL000023       NPBL000031         12/31/1914                                 NO
   7    NPBL000032 pdf                                           NPBL000032       NPBL000047          7/27/1917 Hunt 30(b)(6) 06; NSR 06        NO
   8    NPBL000081 pdf                                           NPBL000081       NPBL000086          3/15/1977                                 NO
   9    NW 1985 Interchange agreement pdf                        CSXT0094704      CSXT0094717        12/31/1985 Kendall_03                      NO
  10    NPBL 1989 Supplemental Agreement pdf                     CSXT0000757      CSXT0000760          3/1/1989 Kendall_04; Moss_04; NPBL_04 NO
  11    Letter forwarding Supplemental Agreement                 CSXT0086316      CSXT0086321          4/5/1989 Armbrust 02                     NO
  12    Scan001 PDF                                              CSXT0079851      CSXT0079863          1/7/1991 Booth 07                        NO
  13    NPBL 1996 Bylaws pdf                                     CSXT0000761      CSXT0000766         4/10/1996 Hall 03; Moss 05; NPBL 05       NO
  14    By-Laws 4 10 1996 pdf                                    CSXT0086332      CSXT0086337         4/10/1996 Armbrust 03                     NO
  15    NBP Current Rate Structure V                             NSR_00000217     NSR_00000226         3/3/1998                                 F, H
  16    NPBL000142 pdf                                           NPBL000142       NPBL000145           7/9/1998                                 NO
  17    Withdrawn
  18    Letter to NPB Rate Structure Committee                   NSR 00000177     NSR 00000178        1/22/1999                                    NO
  19    NPB Rate Structure Committee                             NSR 00000199     NSR 00000199        2/17/1999                                    F, H
  20    NPBL Rate Structure Committee Meeting Minutes            NSR 00000212     NSR 00000216        2/25/1999                                    NO
  21    Withdrawn
  22    Withdrawn
  23    NSR 00306614 pdf                                         NSR 00306614     NSR 00306623       12/27/2002 Luebbers 1 28 21 13                NO
        NSR (CSXT) - NPBL Technology Services Agreement
  24    with NSC (7-5-2006) PDF                                  NSR 00000304     NSR 00000322        7/17/2006 Moss 02                            NO
  25    Withdrawn
  26    Cosco Logistics 06-11 TIF                                NSR_00013340     NSR_00013357        11/1/2006                                    F
  27    NSR_00306624 pdf                                         NSR_00306624     NSR_00306633       12/15/2006 Luebbers 1 28 21_12                NO
  28    minutesapr2007 DOC                                       CSXT0124609      CSXT0124615          4/7/2007                                    NO
  29    Evergreen 08-12 TIF                                      NSR 00013364     NSR 00013376       10/31/2007                                    F
  30    minutesdec2007 DOC                                       CSXT0000001      CSXT0000006        12/19/2007 Girardot 30(b)(6) 20               NO
  31    minutesdec2007 DOC                                       CSXT0124616      CSXT0124621        12/19/2007 Armbrust 04                        F
  32    NPBL003878 pdf                                           NPBL003878       NPBL003898           1/1/2008 Moss 20                            NO
  33    2008 Board pdf                                           NPBL017779       NPBL017864           2/8/2008 Ingram_11                          F
  34    Unanimous Written Consents                                                                     2/8/2008 Moss 43                            NO
  35    NPBL BOD April9 2008 meeting revised pdf                 NPBL006936       NPBL006969          3/20/2008 Coleman 07                         NO
  36    20080324 MJW Briefing ppt                                CSXT0023949      CSXT0023949         3/24/2008                                    F, H, CON, M, P, IE
  37    03-26-08 MJW Briefing v3 ppt                             CSXT0023950      CSXT0023950         3/26/2008                                    F, H, CON, M, P, IE
  38    20080326-Project Gemini Update OW ppt                    CSXT0023955      CSXT0023955         3/27/2008                                    F, H, CON, M, P, IE
  39    minutesjune2008 doc                                      CSXT0124793      CSXT0124794         6/20/2008 Ingram_12                          NO
  40    NPB                                                      CSXT0079735      CSXT0079740         8/26/2008 Booth_05                           NO
  41    BOD Agenda April 2009 pdf                                NPBL012219       NPBL012257          12/3/2008                                    NO
  42    Annual Report 2008 pdf                                   NPBL021368       NPBL021393         12/31/2008                                    NO
        January 2009 magazine article - "CSX Wagers on a public-
        private partnership to place the double-stack National
  43    Gateway in the inermodal win column"                                                           1/1/2009 Ingram 2                           F, H, DH
  44    COSCO Amendment #1 pdf                                   NSR_00013312     NSR_00013314        2/15/2009                                    F
  45    Scan from a Xerox WorkCentre Pro                         CSXT0079850      CSXT0079850         2/19/2009 Booth 07                           NO
  46    Pro NPBL Overview                                        CSXT0109353      CSXT0109353         2/19/2009 Booth 06; Ingram 03                NO
  47    NPBL Presentation Final ppt                              CSXT0109354      CSXT0109354         2/19/2009 Booth 06; Ingram 03                NO
  48    FW: NPBL                                                 CSXT0109355      CSXT0109355         2/19/2009                                    F, IR
  49    Norfolk and Portsmouth Belt Line                         CSXT0024557      CSXT0024557         2/20/2009 Armbrust_05                        NO
  50    FW: NPBL Overview                                        CSXT0079905      CSXT0079905          3/6/2009 MacDonald_01                       NO
  51    NPBL Presentation Final ppt                              CSXT0079906      CSXT0079906          3/6/2009 MacDonald 01                       NO
  52    RE: NPBL Board Meeting                                   CSXT0079937      CSXT0079938          4/3/2009                                    F, H
  53    FW: CSXT Purchase Proposal                               NPBL006970       NPBL006971           4/6/2009 Ingram 04                          NO
                                                                                                                Coleman_08; Ingram_04;
  54    David Stinson Ltr 4 3 09 pdf                                NPBL006972    NPBL006974           4/6/2009 Stinson 04                         NO
  55    2009 Board pdf                                              NPBL017865    NPBL017884           4/8/2009 Allan_12; Ingram_15                NO
  56    60 00 pdf                                                   NPBL009637    NPBL009638          4/14/2009 Booth_02; Ingram_05                NO
        The plan is to rebuild a reasonable market share in Norfolk
  57    for three primary reasons doc                               CSXT0024736   CSXT0024738         4/15/2009 Houfek 01                          F, M, CON
  58    61 00 pdf                                                   NPBL009639    NPBL009639          4/20/2009 Ingram 06                          NO
  59    DOC001 PDF                                                  CSXT0080664   CSXT0080701         4/20/2009 Booth 03                           NO
                                                                                                                Allan_11; Coleman_14; Moss_25;
  60    Tariff-8100-H pdf                                       NSR_00035907      NSR_00035915        4/24/2009 Stinson_07                         NO
  61    NPBL Meeting                                            CSXT0109525       CSXT0109525         5/11/2009 Armbrust 06                        F
  62    CenterPoint Virginia Port Plan                          CSXT0024843       CSXT0024844         5/20/2009 Booth 08                           F, IR
  63    COSCO Amendment #2 pdf                                  NSR 00013315      NSR 00013318         6/1/2009                                    F
                                                                                                                Allan_01; Booth_12; Eliasson_01;
  64    Corporate Port Strategy Review doc                      CSXT0124777       CSXT0124781          6/1/2009 Houfek_11                          NO
                                                                                                                Armbrust_07; Booth_04;
  65    Letter from CSX                                         CSXT0080856       CSXT0080857         6/16/2009 Ingram 07                          NO
  66    NBPL Communications with CSX                            CSXT0080858       CSXT0080861         6/19/2009                                    NO
                                                                                                                Booth_Cary_27; Heller
                                                                                                                10 30 20_05; McClellan
  67    NBPL General Information & Map                          NSR_00104440      NSR_00104454         7/1/2009 10 29 20_03                        NO
  68    Rate Committee packet                                   NSR_00084676      NSR_00084676        7/16/2009 Booth_09                           NO
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 3 of 13 PageID# 14890
                                                               Exhibit C - NS Amended Exhibit List



 69    Committee pdf                                         NSR_00084677    NSR_00084725        7/16/2009 Booth_09                        NO
 70    NPBL Rate Structure Committee Materials               NPBL008772      NPBL008820          7/16/2009 Stinson_10                      NO
 71    Rate Committee packet                                 NPBL015022      NPBL015022          7/16/2009 Allan 06                        NO
 72    Committee pdf                                         NPBL015023      NPBL015071          7/16/2009 Allan 06                        NO
 73    questions on the Rate Committee packet                NSR 00084675    NSR 00084675        7/21/2009 Allan 07; Booth 10              NO
 74    Letter from CSX                                       NSR 00184149    NSR 00184193        7/23/2009 Ingram 08                       NO
 75    Letter Demanding Right to Inspect                     NPBL015656      NPBL015660          7/23/2009 Ingram_09                       NO
 76    Re: Need Documents for the Rate Committee Mtg         CSXT0081356     CSXT0081357         7/24/2009 Allan_18                        F, H
 77    FW: Need Documents for the Rate Committee Mtg         CSXT0124768     CSXT0124768         7/24/2009 Booth 12; Houfek 11             NO
 78    Scan001 pdf                                           CSXT0124769     CSXT0124772         7/24/2009 Booth 12; Houfek 11             NO
 79    Agreement final doc                                   CSXT0124773     CSXT0124776         7/24/2009 Booth 12; Houfek 11             NO
 80    NPBL sale pdf                                         CSXT0124782     CSXT0124782         7/24/2009 Booth 12; Houfek 11             NO
                                                                                                           Booth_11; Heller 10 30 20_04;
 81    Letter from CSX                                       NSR_00177919    NSR_00177963        7/27/2009 McClellan 10 29 20_02           NO
 82    FW: CWRY - CSX Interchange Agmt                       CSXT0025096     CSXT0025096         7/28/2009 Booth_13                        F
 83    KMBT35020080607102142 pdf                             CSXT0025097     CSXT0025111         7/28/2009 Booth 13                        F
 84    NPBL Rate Committee Mtg 7-29-09 v4 doc                NSR 00027071    NSR 00027075        7/29/2009 Coleman 19; Heller 29           NO
 85    Ingram-letter 7-24-09 pdf                             NPBL006571      NPBL006572          7/30/2009 Ingram 10                       F
 86    Document 1-9 pdf                                      NSR 00306392    NSR 00306393         8/1/2009 Luebbers 1 28 21 05             NO
 87    other shortline tariffs                               NSR_00084666    NSR_00084666         8/3/2009 Booth_14                        NO
 88    short line tariffs xls                                NSR_00084667    NSR_00084667         8/3/2009 Booth_14                        NO
 89    FW: Length and Curvature of the East Leg of the Wye   CSXT0124808     CSXT0124809          8/5/2009 Booth 15                        NO
 90    FW: rate committee question                           CSXT0025121     CSXT0025121          8/6/2009 Allan 03; Booth 16              NO
 91    Jan-Jun 2009 load analysis xls                        CSXT0025122     CSXT0025122          8/6/2009 Allan 04                        NO
       Re: NSRR / NPBL "Carolina Junction" is permanently
 92    disabled                                              CSXT0124810     CSXT0124810         8/13/2009 Booth_17                        NO
 93    9-4-09 pdf                                            NPBL007033      NPBL007088          8/20/2009                                 NO
 94    FW: Questions about Agreements                        CSXT0109607     CSXT0109607         8/28/2009 Booth 18                        NO
 95    CONRAIL PARABLE                                       CSXT0081882     CSXT0081893          9/1/2009 Allan 05                        F, IR, CON, P
 96    3 00 pdf                                              NPBL009530      NPBL009532           9/4/2009                                 NO
 97    CSX memorandum 9-4 pdf                                NPBL019887      NPBL019891           9/4/2009 Ingram 13                       NO
 98    ingram response rtf                                   NPBL009333      NPBL009336           9/5/2009                                 F
 99    FW: Questions about Agreements                        CSXT0081955     CSXT0081956          9/8/2009 Booth_19                        NO
 100   wilcox letter pdf                                     CSXT0081957     CSXT0081961          9/8/2009 Booth 19                        NO
 101   BJ Main pdf                                           CSXT0081962     CSXT0081977          9/8/2009 Booth 19                        NO
 102   Port Norfolk Ammend TIF                               CSXT0081978     CSXT0081979          9/8/2009 Booth 19                        NO
 103   FW: Additional Switching Support                      CSXT0082024     CSXT0082025         9/14/2009                                 F, H
 104   Fw: VPA Conference Call Announcement                  CSXT0082034     CSXT0082035         9/15/2009 Kendall 09                      F, H
 105   Re: VPA Announcement Recap                            CSXT0082039     CSXT0082040         9/16/2009 Kendall_10                      F, H
 106   FW: NPBL Rate Committee                               NSR_00183825    NSR_00183825        9/21/2009 Coleman_17                      NO
 107   Allison consent pdf                                   NPBL015383      NPBL015383          9/21/2009                                 F
                                                                                                           Allan_09; Coleman_20;
                                                                                                           Luebbers_27; Moss_27;
 108   NPBL Rate Committee Meeting 9-24-09 doc               NSR 00035903    NSR 00035906        9/25/2009 Stinson 12                      NO
 109   Withdrawn
 110   minutes_sept_2009 DOC                                 NPBL007092      NPBL007093          9/28/2009 Summy_12                        NO
 111   Docket 10-26 ammended pdf                             NPBL009271      NPBL009303          10/5/2009                                 NO
 112   ingram response doc                                   NPBL019892      NPBL019896          10/5/2009                                 NO
 113   Reponse from NPBL doc                                 CSXT0124997     CSXT0125001         10/7/2009                                 F
 114   FW: Rate Committee info                               NSR 00074093    NSR 00074093       10/13/2009 Stinson 15                      NO
 115   FW: Rate Committee info                               CSXT0082066     CSXT0082067        10/13/2009 Allan_08; Booth_20              NO
 116   proposed tariff summary xls                           CSXT0082068     CSXT0082068        10/13/2009 Allan_09                        NO
 117   2010 budget projections xls                           CSXT0082069     CSXT0082069        10/13/2009 Armbrust 08                     NO
 118   letter to NPB from Rate Committee - 10-14 doc         CSXT0025190     CSXT0025191        10/14/2009                                 NO
 119   RE: NPBL -- FYI: Rate Committee info                  CSXT0082083     CSXT0082086        10/14/2009 Ingram 20                       F, IN
       FW: Recommendations of CSXT Rate Committee
 120   Representatives                                       CSXT0082144     CSXT0082144        10/15/2009 Allan_10                        NO
 121   Letter from CSX                                       CSXT0082145     CSXT0082147        10/15/2009 Allan_11                        NO
 122   NPBL response pdf                                     NPBL007101      NPBL007112         10/16/2009 Ingram 17; Stinson 16           NO
 123   Letter from CSX                                       NSR 00074086    NSR 00074087       10/22/2009 Ingram 18                       NO
 124   Docket 10-26 pdf                                      NPBL007114      NPBL007142         10/22/2009 Coleman 21; Stinson 13          NO
 125   Scan001 pdf                                           NSR 00306122    NSR 00306124       10/23/2009 Booth 21                        NO
 126   NS Recommendations                                    NSR 00035548    NSR 00035548       10/23/2009 Luebbers 28                     NO
 127   NPBL_Recommendations_10-23-09 doc                     NPBL006574      NPBL006575         10/23/2009 Coleman_22                      NO
 128   Stinson_ltr_to_Ingram-Clement_(10-23-09) pdf          NPBL007144      NPBL007156         10/23/2009                                 NO
 129   Stinson ltr to Ingram-Clement (10-23-09) pdf          CSXT0125045     CSXT0125057        10/23/2009 Ingram 16                       NO
 130   minutes oct 5 ammended pdf                            NPBL007163      NPBL007164          11/4/2009 Summy 13                        NO
 131   Board Docket-1209 pdf                                 NPBL007166      NPBL007203         11/23/2009                                 NO
 132   Board Docket-1209 pdf                                 NPBL007205      NPBL007246         11/23/2009 Stinson 05                      NO
 133   FW: CSX joint facility agreements                     CSXT0082298     CSXT0082298         12/8/2009 Booth_22                        F
 134   Joint Facilities-CSXT xls                             CSXT0082299     CSXT0082299         12/8/2009 Booth_22                        F
 135   Board Docket-1209 pdf                                 NPBL007248      NPBL007300          12/9/2009                                 NO

 136   VPA - NIT Central Rail Work Group: Project Charter       SDT RES 000118 SDT RES 000126   12/11/2009 Capozzi 11; Capozzi 20          F, H
       FW: NPBRR - lease on Port Norfolk yard tracks 1,3,& 7 in
 137   Portsmouth, VA                                           CSXT0082393    CSXT0082396      12/14/2009 Ingram_19                       F
 138   Tariff-8100-I Feb 2010 doc                               NPBL021736     NPBL021744       12/15/2009                                 NO
 139   Hampton Roads E-Team to L4 ppt                           CSXT0008061    CSXT0008061      12/20/2009                                 F
 140   minutes dec 15 pdf                                       NPBL007302     NPBL007323       12/23/2009 Ingram 21; Summy 15             NO
 141   minutes dec 15 pdf                                       CSXT0125260    CSXT0125281      12/23/2009                                 NO
 142   Portsmouth sub Port Map ppt                              CSXT0025270    CSXT0025270       1/15/2010                                 F, H
                                                                                                           Allan_14; Armbrust_09;
 143   RE: "X" Train - Portsmouth to Wilmington Requested    CSXT0082577     CSXT0082579         1/30/2010 Houfek_09; MacDonald_02         NO
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 4 of 13 PageID# 14891
                                                               Exhibit C - NS Amended Exhibit List



 144   2010 Board pdf                                        NPBL017885     NPBL017932        2/25/2010                                   NO
 145   RE: CSX at Norfolk                                    NSR_00172581   NSR_00172582       3/4/2010 McClellan 10 29 20_10             NO
 146   Re: Today's CSX Meeting with VPA / VIT                CSXT0082724    CSXT0082726        3/9/2010 Houfek 02                         F
 147   Thanks                                                CSXT0004044    CSXT0004044       3/10/2010 Eliasson 04                       NO
 148   FW: Ingram & Clement resignations                     CSXT0082750    CSXT0082750       3/16/2010 Ingram 22                         NO
 149   Binder1 pdf                                           CSXT0082790    CSXT0082792       3/22/2010 Eliasson 08                       F, H
 150   RE: NPBO                                              CSXT0082789    CSXT0082789       3/22/2010 Eliasson_08                       F, H
 151   RE: New Board Members                                 CSXT0004046    CSXT0004046       3/23/2010 Eliasson_05                       NO
 152   RE: Have you heard back from VIT?                     CSXT0082793    CSXT0082793       3/23/2010 Kendall 11                        F, H, DH
 153   Sewell's Point documents                              CSXT0125487    CSXT0125487       3/24/2010                                   F, H
 154   NIT Shuttle Operating Detail ppt                      CSXT0063758    CSXT0063758        4/1/2010 Allan 19; Armbrust 11             NO
 155   Board Docket-0410 pdf                                 NPBL007345     NPBL007368         4/9/2010 Eliasson 09                       NO
                                                                                                        Stinson_24; Summy_08;
 156   NPBL September 2010 Board Materials pdf               NSR_00000781   NSR_00000822      4/14/2010 Wheeler_13                        NO
 157   NPBL BOD Meeting Summary doc                          CSXT0025521    CSXT0025522       4/14/2010 Eliasson_10; Girardot 30(b)(6)_08 NO
 158   Annual Report 2009 pdf                                NPBL007370     NPBL007395        4/15/2010                                   NO
 159   RE: NPBL/VIT Operations Meeting                       CSXT0025580    CSXT0025580       4/15/2010 MacDonald 03                      NO
 160   Operations Meeting Follow-Up                          NPBL015661     NPBL015662        4/20/2010 MacDonald 04                      NO
 161   RE: April 14th minutes                                CSXT0008295    CSXT0008295       4/21/2010 Allan 17; Eliasson 11             NO
 162   Memo_to_NPBL_Board_4-30-10 docx                       NPBL012477     NPBL012479        4/30/2010                                   NO
 163   Meeting with VPA and CSX                              VPA000793      VPA000793         5/19/2010 Vick 30(b)(6)_03                  NO
 164   Document 2-1 pdf                                      NSR 00306428   NSR 00306431      5/20/2010 Luebbers 1 28 21 09               NO
 165   CSX Discussion Items doc                              NPBL013646     NPBL013646        5/26/2010 MacDonald 05                      NO
 166   NIT pdf                                               NPBL027608     NPBL027629        5/26/2010 Capozzi 01; Capozzi 03            F, H
 167   NPBL NIT Operating Directives pdf                     NSR 00015156   NSR 00015159      5/27/2010 Booth Cary 14                     IN
 168   2010 xls                                              NSR_00084138   NSR_00084138      6/10/2010                                   F, H, IR, M
 169   Port Strategy ETeam Review4 ppt                       CSXT0025763    CSXT0025763       6/10/2010                                   F
 170   Fw: CSX forecast model                                NSR 00062929   NSR 00062929       7/7/2010 Heller 30; Stinson 18; Summy 03 NO
 171   CSX forecast model                                    NSR 00074005   NSR 00074005       7/7/2010 Booth 24; Coleman 25              NO
 172   Modelv50adj xls                                       NSR 00074006   NSR 00074006       7/7/2010 Booth 24                          NO
 173   RE: NPBL Operating Plan                               CSXT0083675    CSXT0083675       7/15/2010 Booth 25                          NO
 174   CSXT Rate Request, NIT Intermodal Traffic             NPBL007963     NPBL007963        7/19/2010                                   NO
 175   FW: CSXT Rate Request, NIT Intermodal Traffic         CSXT0083722    CSXT0083722       7/19/2010 MacDonald_06                      NO
 176   Letter from CSX                                       CSXT0083723    CSXT0083729       7/19/2010 Allan 13; MacDonald 06            NO
       7/19/10 letter from John Booth to David Stinson and
 177   Donna Coleman                                                                          7/19/2010 J Booth 26                        NO
       Rail Service Connection to NIT - Rate Proposal and
 178   Operating Plan                                        NPBL007430     NPBL007430        7/23/2010 Armbrust 12                       NO
 179   Letter from CSX                                       NPBL007431     NPBL007436        7/23/2010 Allan_15; Armbrust_13             NO
 180   Revised Operating Plan/Rate Request                   NPBL007971     NPBL007971        7/23/2010                                   NO
 181   FW: Revised Operating Plan/Rate Request               CSXT0025826    CSXT0025826       7/23/2010 Coleman 27                        NO
 182   Scan001 PDF                                           CSXT0025827    CSXT0025832       7/23/2010 MacDonald 07                      NO
 183   MJW VA Memo-07 27 10-FINAL doc                        CSXT0125636    CSXT0125642       7/27/2010 Eliasson 02                       NO
 184   Document 2-6 pdf                                      NSR 00306436   NSR 00306437      7/28/2010 Luebbers 1 28 21 10               NO
                                                                                                        Booth_28; Coleman_28;
 185   Comments_on_CSXT_Rate_Proposal pdf                    NPBL007438     NPBL007439         8/5/2010 Stinson_22                        NO
 186   Comments on CSXT Rate Proposal                        NPBL012438     NPBL012438         8/5/2010 Eliasson 13                       NO
 187   Comments on CSXT Rate Proposal pdf                    NPBL012439     NPBL012440         8/5/2010 Eliasson 13                       NO
 188   RE: Revised Operating Plan/Rate Request               NPBL015679     NPBL015679        8/16/2010 Coleman 29                        NO
 189   CSX - NIT Rate response pdf                           NPBL015680     NPBL015681        8/16/2010                                   NO
 190   CSX - NIT Rate response pdf                           CSXT0083753    CSXT0083754       8/16/2010 Booth_29                          NO
 191   RE: Revised Operating Plan/Rate Request               CSXT0083757    CSXT0083758       8/17/2010                                   F, H
 192   Docket                                                NPBL007440     NPBL007440        8/24/2010 Eliasson 14                       NO
 193   Board Docket-0910 pdf                                 NPBL007441     NPBL007465        8/24/2010 Eliasson 14                       NO
 194   Withdrawn
 195   Withdrawn
       NS RWY NPBL Dec 31, 1985 Agree Jan 1, 2008
 196   Amend pdf                                             NSR_00181846   NSR_00181847       9/3/2010                                   NO
 197   Rate Proposal 9-3-10 pdf                              NPBL015431     NPBL015433         9/3/2010 Armbrust 17                       NO
 198   Document 2-10 pdf                                     NSR 00306438   NSR 00306439       9/3/2010 Luebbers 1 28 21 11               NO
                                                                                                        Coleman_32; Eliasson_18;
 199   Board Docket-1210 pdf                                 NPBL007491     NPBL007511         9/8/2010 Wheeler 14                        NO
 200   minutes                                               NPBL007466     NPBL007466        9/17/2010 Eliasson 12; Eliasson 16          NO
 201   Minutes_9-8-2010_Board pdf                            NPBL007467     NPBL007467        9/17/2010 Eliasson_12; Eliasson_16          NO
 202   Re: VIT Tariff Proposal                               CSXT0084032    CSXT0084035       9/17/2010                                   F, H
 203   RE: Re: VIT Tariff Proposal                           CSXT0084036    CSXT0084039       9/17/2010                                   F, H
 204   RE: VIT Tariff                                        CSXT0084192    CSXT0084193       9/22/2010 MacDonald 08                      F, H, DH
 205   VA 15-mo plan doc                                     CSXT0142080    CSXT0142085       9/27/2010                                   F
 206   Re: VIT Tariff                                        CSXT0084521    CSXT0084525       9/28/2010                                   F, H
 207   RE: CSXT Intermodal Train to APMT (Update)            CSXT0084526    CSXT0084531       9/29/2010                                   F, H
 208   207375 pdf                                            NSR_00038603   NSR_00038609      10/1/2010                                   NO
 209   Port Strategy Integration Plan - Working Draft doc    CSXT0109871    CSXT0109884       10/1/2010 Eliasson 03                       NO
       Comprehensive Interchange and Terminal Services
 210   Agreement pdf                                         CSXT0084563    CSXT0084578      10/13/2010                                   F, H
 211   International Contract Strategy 20Oct10 docx          NSR 00026305   NSR 00026310     10/24/2010 McClellan 02                      IN
                                                                                                        Armbrust_15; Booth_30;
 212   FW: NPBL Agreement to send over (via pdf) to Donna    CSXT0109886    CSXT0109887       11/1/2010 Eliasson_17                       NO
 213   CSXT NPBL 2010 Intermodal 11-1-10 DOC                 CSXT0109888    CSXT0109909       11/1/2010 Armbrust 14; Eliasson 17          NO
 214   Port Strategy Progress Report xls                     CSXT0125911    CSXT0125911       11/1/2010                                   F, H
 215   Summy pdf 7 26 10 pdf                                 NSR 00181187   NSR 00181192      11/3/2010 Booth 27                          NO
 216   FW: NPBL Agreement to send over (via pdf) to Donna    CSXT0084772    CSXT0084774      11/11/2010 Booth 31                          NO
 217   RE: NPBL Agreement to send over (via pdf) to Donna    CSXT0084775    CSXT0084778      11/12/2010                                   F, H
 218   December 1st Docket                                   NPBL007490     NPBL007490       11/19/2010 Eliasson_18                       NO
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 5 of 13 PageID# 14892
                                                                     Exhibit C - NS Amended Exhibit List



 219   RE: NPB (CSX) Intermodal Service to NIT                     NPBL012305      NPBL012306       12/8/2010 Stinson_27; Wheeler_17       NO
 220   Solid_Train_Agreement docx                                  NPBL008053      NPBL008072      12/17/2010                              F
 221   Memorandum for 12-29-10 Board Meeting                       NPBL012283      NPBL012283      12/27/2010 Eliasson 19                  NO
 222   CSXTMEMO12272010 pdf                                        NPBL012284      NPBL012287      12/27/2010 Armbrust 16; Eliasson 19     NO
 223   Minutes 12-29-2010 Board pdf                                NPBL007521      NPBL007525        1/5/2011 Coleman 32                   NO
 224   Minutes 12-29-2010 Board pdf                                CSXT0126025     CSXT0126029       1/7/2011 Eliasson 20                  NO
       RE: VIT Lift Fee Proposal for Today's Conf Call @ 2:00
 225   PM                                                          CSXT0085628     CSXT0085629      1/13/2011 Houfek_08; Kendall_12        NO
 226   Dec pdf                                                     NPBL012259      NPBL012276       1/19/2011 Coleman 41; Moss 29          NO
 227   Joint Facility Agreement (1-21-11) (2) doc                  CSXT0085664     CSXT0085665      1/24/2011                              F, H
 228   Heartland Corridor 9 7 Overview pptx                        NSR 00001839    NSR 00001847     1/29/2011                              F, H
 229   At work with Donna Coleman of Belt Line Railroad                                             1/30/2011 Coleman 1                    NO
 230   NPBL Meeting/SL Workshop                                    CSXT0085751     CSXT0085752       2/1/2011                              F, H
 231   RE: FW: Proposed Meeting                                    CSXT0085753     CSXT0085754       2/2/2011 Booth_32                     NO

 232   EC - WC 2-9-11 and Norfolk Pricing Strategy Hanjin pptx NSR 00026277        NSR 00026287     2/10/2011 Luebbers 09                  NO
 233   FW: NPB Issues                                          CSXT0026357         CSXT0026357      2/11/2011                              F, H
 234   RE: Sewell's Point Operating Agreement                  CSXT0110056         CSXT0110056      2/13/2011                              F, H
 235   RE: Port Norfolk Property offer                         CSXT0004190         CSXT0004191      2/14/2011                              IR, H
 236   RE: Sewell's Point Operating Agreement                  NPBL007580          NPBL007581       2/14/2011 Coleman_11                   NO
 237   FW: Port Norfolk Property offer                         CSXT0086053         CSXT0086054      2/14/2011 Booth_33                     NO
 238   FW: NPBL Response Letter                                NPBL007582          NPBL007583       2/28/2011                              NO
                                                                                                              Booth_Cary_25; Coleman_33;
       BW_VANORTNADMU973P_trmes 20110225T103026 p                                                             Eliasson_21; Stinson_28;
 239   df                                                  NPBL012988              NPBL012989       2/28/2011 Wheeler 18                   NO
       BW_VANORTNADMU973P_trmes 20110225T103026 p
 240   df                                                  CSXT0126579             CSXT0126580       3/1/2011 MacDonald_09                 NO
 241   RE: NPBL                                            CSXT0026548             CSXT0026548      3/15/2011 Allan 16                     NO
 242   Annual Stockholder's Meeting & Board Meeting Docket NPBL007586              NPBL007586        4/4/2011 Eliasson 22                  NO
 243   docket 4-11 pdf                                     NPBL007587              NPBL007644        4/4/2011 Eliasson 22                  NO
 244   RE: Agenda for Board of Directors Meeting           CSXT0086330             CSXT0086331      4/11/2011                              F
 245   FW: Agenda for Board of Directors Meeting           NSR_00180594            NSR_00180595     4/12/2011 Coleman_34                   NO
 246   Re: Agenda for Board of Directors Meeting           CSXT0086358             CSXT0086359      4/12/2011                              F, H
 247   2011 Board pdf                                      NPBL017933              NPBL017952       4/13/2011 Armbrust 20                  NO
 248   annual report pdf                                   NPBL007646              NPBL007672       4/14/2011                              NO
 249   Minutes 4-2011 Stockholders pdf                     CSXT0000262             CSXT0000263      4/18/2011                              NO
 250   Minutes                                             NPBL007673              NPBL007673       4/18/2011 Eliasson 23                  NO
 251   Minutes 4-2011 Board pdf                            NPBL007674              NPBL007674       4/18/2011 Eliasson 23                  NO
 252   Minutes_4-2011_Board_cont pdf                       NPBL007675              NPBL007677       4/18/2011 Eliasson_23                  NO
                                                                                                                                           IR, F, H, DH, M,
 253   NS versus CSX Financial Performance 110421 pptx             NSR 00306023    NSR 00306098     4/29/2011                              CON
       RE: Port Authority seeks to expand rail capacity at NIT |
 254   HamptonRoads com | PilotOnline com                          CSXT0086684     CSXT0086684      7/12/2011 Kendall 13                   NO
 255   Unanimous Consent pdf                                       NPBL008737      NPBL008737       8/22/2011                              F
       Virginia Intl Terminals Board Presentation Aug 26 2011
 256   v3 ppt                                                      CSXT0008798     CSXT0008798      8/24/2011                              F
 257   Docket 9-11 pdf                                             CSXT0000570     CSXT0000575       9/9/2011                              NO
 258   RE: NPB Update Re: David Stinson                            CSXT0027039     CSXT0027039      9/12/2011                              F, H, DH
 259   RE: Norfolk Port Actions                                    NSR 00072116    NSR 00072117    10/16/2011                              F, H, CON, M, P
       Summary of Actions Taken to Address Rate Differentials
 260   Between Norfolk and NYNJ doc                                NSR_00072118    NSR_00072121    10/16/2011                              F, H, CON, M, P
 261   CSX muscles in on Norfolk Southern's cargo business         NSR_00026716    NSR_00026718    10/17/2011                              F, H, DH
 262   COSCO Amendment #3 pdf                                      NSR 00013319    NSR 00013323    10/31/2011                              F
 263   COSCO Logistics Amendment #1 pdf                            NSR 00013358    NSR 00013359    10/31/2011                              F
 264   Docket                                                      NPBL007729      NPBL007729      11/21/2011 Eliasson 25                  NO
 265   Docket 12-7-11 pdf                                          NPBL007730      NPBL007758      11/21/2011 Eliasson 25                  NO
 266   COSCO Logistics Amendment #2 pdf                            NSR_00013360    NSR_00013363      1/1/2012                              F
 267   2012 Kickoff - International pptx                           NSR_00156708    NSR_00156732      1/4/2012 Heller 10 30 20_02           IN
 268   COSCO Amendment #4 pdf                                      NSR 00013324    NSR 00013326      3/5/2012                              F
 269   April 2012 Docket pdf                                       CSXT0000092     CSXT0000148      3/29/2012                              NO
 270   2-27 CSX RFP response draft v4 doc                          CSXT0027483     CSXT0027504      3/29/2012                              F, H
 271   2012 Board pdf                                              NPBL017953      NPBL017988       4/11/2012                              NO
 272   FW: Meeting with VPA, Perdue re PMT                         NSR 00169721    NSR 00169723      8/3/2012 Martinez 25                  NO
       Re: Fwd: VIT at APMT - has reachMcKee, Terry
       <Terry_McKee@csx com>ed its max ceiling for rail
 273   throughput                                                  CSXT0087165     CSXT0087167       8/5/2012 Armbrust 18                  F
 274   Fwd: APM                                                    CSXT0087186     CSXT0087186      8/13/2012                              F
 275   Fw: Meeting with VPA, Perdue re PMT                         NSR 00065318    NSR 00065320     8/29/2012 Martinez 06                  NO

 276   Port of VA Position Paper - State of the Port - Final Report VPA001052      VPA001069        10/3/2012                              F, H, IR, IE
 277   Minutes_12-29-2010_Board_ammended doc                        NPBL015269     NPBL015273       10/8/2012 Armbrust_31                  NO
 278   COSCO Amendment #5 pdf                                       NSR 00013327   NSR 00013330     11/1/2012                              F
                                                                                                              Armbrust_210325_07;
                                                                                                              Burns_210325_02; Girardot
 279   Hard Copy Scan - NPBL Entity Vitals                         CSXT0154817     CSXT0154817      11/5/2012 30(b)(6) 06                  F
 280   NPBL_Dec_12-18-12_Board_Docket pdf                          NPBL007761      NPBL007786       12/7/2012                              NO
 281   NPBL002001 pptx                                             NPBL002001      NPBL002053      12/18/2012                              NO
       RE: VMA Contacts: Port of Virginia Led USEC Peers in
 282   Growth in 2012                                              NSR 00072044    NSR 00072047      2/3/2013 Heller 11; McClellan 05      NO
 283   Hampton Roads Port / Rail Review                            NSR 00104571    NSR 00104580      2/7/2013 Luebbers 1 28 21 06          NO
                                                                                                              Coleman_23; Moss_28;
 284   NPBL000324 pdf                                              NPBL000324      NPBL000325       2/22/2013 Wheeler_08                   NO
 285   Letter from Perdue AgriBusiness                             CSXT0023480     CSXT0023481      2/22/2013                              F
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 6 of 13 PageID# 14893
                                                                   Exhibit C - NS Amended Exhibit List



 286   FW: Meeting with Perdue of March 27                       NPBL016311     NPBL016312         4/1/2013 Martinez_15                      NO
       FW: Statement of Governor McDonnell on Port PPTA
 287   Decision and Restructuring                                NSR 00178176   NSR 00178178       4/2/2013 McClellan 10 29 20 08            NO
 288   NPBL000257 pdf                                            NPBL000257     NPBL000271        4/10/2013                                  NO
 289   NPBL April 10 2013 board Presentation pptx                NPBL016996     NPBL017010        4/10/2013                                  NO
 290   2013 Board pdf                                            NPBL017989     NPBL018000        4/10/2013                                  NO
 291   Annual_Report_2012 pdf                                    NPBL009144     NPBL009169        4/12/2013                                  NO
                                                                                                            Booth_Cary_02; Joyner
 292   EC Port Review 2013 - International pptx                  NSR 00000912   NSR 00000960       5/5/2013 30(b)(6) 19; NSR 19              NO
 293   Evergreen Agreement FINAL 6-19-13 pdf                     NSR 00013377   NSR 00013392      6/19/2013                                  F
                                                                                                            Hunt 30(b)(6)_11; Martinez_07;
 294   RE: NIT                                                   NSR 00029473   NSR 00029473      8/29/2013 McClellan 10; NSR 11             NO
 295   Re: Urgent: phase II and III                              CSXT0008989    CSXT0008989       11/6/2013 Kendall 14                       NO
 296   RE: Palmetto Railways EIS for North Charleston ICTF       CSXT0111144    CSXT0111145      11/14/2013 Girardot_20                      F, H, CON, M
 297   NPBL_dec_18_2013_board_Presentation pptx                  NPBL023708     NPBL023735       12/17/2013                                  NO
 298   NPBL000284 pdf                                            NPBL000284     NPBL000296       12/18/2013                                  NO
 299   CSX operating plan for PMT                                NPBL019693     NPBL019693         1/3/2014 Martinez 23                      NO
 300   RE: VIT Action                                            NSR 00130077   NSR 00130078       2/6/2014 Heller 10 30 20 08               NO
 301   Joseph Ruddy 02 27 2014 (2) pdf                           NSR 00048150   NSR 00048151      2/27/2014 Heller 14                        NO
 302   RE: WWW MTG W/ VPA                                        CSXT0009287    CSXT0009289        3/4/2014 MacDonald_10                     F, H
 303   20130925_PMT_Rail_Design docx                             NPBL019686     NPBL019687         3/6/2014                                  F, IR, H
 304   Re: Jaxport ICTF                                          CSXT0030903    CSXT0030904        3/9/2014 Warren 22                        F, H, IR
 305   RE: NC and VA Project Summary                             CSXT0031006    CSXT0031006       3/16/2014 Warren 21                        F, H
 306   Annual Report pdf                                         CSXT0129657    CSXT0129677       3/26/2014                                  NO
 307   NPBL000341 pdf                                            NPBL000341     NPBL000351        4/10/2014                                  NO
 308   2014 Board pdf                                            NPBL018001     NPBL018022        4/10/2014                                  NO
 309   VMA Meeting                                               NSR_00004864   NSR_00004864      4/14/2014 Heller_15                        NO
 310   Specific notes from Cannon voicemail and related bylaws   CSXT0088558    CSXT0088559       4/30/2014 Armbrust 30                      F, H, IR, CON
 311   Fwd: Crowley Threads Meeting Results 4/30                 CSXT0032063    CSXT0032065        5/5/2014 Warren 03                        F, H, IR
 312   Crowley Meeting 30 April V2 (2) docx                      CSXT0032066    CSXT0032067        5/5/2014 Warren 03                        F, H, IR
 313   FW: Virginia Ave Tunnel April 21 brief                    CSXT0000896    CSXT0000896        5/6/2014 Kenney 14                        H, F
 314   Virginia April 21 2014 4 18 14 Edits ppt                  CSXT0000897    CSXT0000897        5/6/2014 Kenney_14                        F
 315   Re: Port Development Update - April 2014                  CSXT0009511    CSXT0009515        5/6/2014                                  NO
 316   FW: Crowley Threads Meeting Results 4/30                  CSXT0032082    CSXT0032083        5/6/2014 Kenney 03; Strongosky 06         F, H
 317   Crowley Meeting 30 April V2 (2) docx                      CSXT0032084    CSXT0032085        5/6/2014 Kenney 03; Strongosky 06         F, H
 318   Withdrawn
                                                                                                            Booth_Cary_20; Heller
 319   NIT Track Loop Map jpg                                   NSR 00292966    NSR 00292966      5/14/2014 10 30 20 12                      NO
 320   RE: VIT                                                  CSXT0032388     CSXT0032389        6/4/2014 Warren_06                        F, H
 321   RE: June 3 Meeting Recap - CSX                           CSXT0009651     CSXT0009654        6/5/2014                                  F, H
 322   FW: TWTW                                                 CSXT0032466     CSXT0032467        6/7/2014                                  F, H
 323   FW: BOCT Tariff, Suppment 6 DRAFT                        CSXT0130202     CSXT0130203        7/1/2014 DiDeo 05                         IR, F, CON, M
 324   NPBL028316 - 28323 Savannah pdf                          NPBL028316      NPBL028323         9/1/2014 Girardot 210317 13               F, H
 325   RE: PMT reopening                                        CSXT0033193     CSXT0033195        9/2/2014 Warren 13                        F, H
       RE: NPBRR - lease on Port Norfolk yard tracks 1,3,& 7 in
 326   Portsmouth, VA                                           CSXT0089144     CSXT0089146       10/7/2014                                  F, H
 327   David Stinson Ltr 4 3 09 pdf                             CSXT0089172     CSXT0089174       10/8/2014                                  F
 328   RE: Master Rail Plan for the Port of Virginia            CSXT0130615     CSXT0130618       10/9/2014 Kendall 15                       NO
 329   COSCO Amendment #6 pdf                                   NSR 00013331    NSR 00013333      11/1/2014                                  F
 330   Re: Intermodal rates to the Midwest                      CSXT0034771     CSXT0034772       12/1/2014 Warren 23                        F, H, IR

                                                                                                            DiDeo_07; Girardot 30(b)(6)_04;
 331   NPBL000220 pdf                                            NPBL000220    NPBL000226        12/10/2014 Hall 06; MacDonald 12; Moss 42 NO
 332   NPBL000359 pdf                                            NPBL000359    NPBL000370        12/10/2014                                 NO
 333   NPBL001931 pptx                                           NPBL001931    NPBL001949        12/10/2014                                 NO
 334   15 Years Thoughts docx                                    NSR 00306133 NSR 00306148        1/26/2015                                 IR, F, H, DH
 335   RE: Wilmington                                            CSXT0001166   CSXT0001168        2/17/2015 Kenney_04                       H, F, DH
 336   Re: NIT Drays                                             CSXT0001173   CSXT0001173        2/25/2015 Kenney_09                       H, F
 337   Re: MSC volume to APMT (Portsmouth)                       CSXT0001179   CSXT0001180        2/27/2015 Kenney 05                       H, F, DH
 338   Re: Questions for next week                               NSR 00016596 NSR 00016600         3/2/2015 Heller 02; Luebbers 01          NO
 339   Congestion Mitigation Update - March 16, 2015             CSXT0001212   CSXT0001214        3/16/2015 Warren 12                       F, H
 340   FW: CWRY                                                  NSR 00129565 NSR 00129567        3/17/2015                                 IN, F, H, DH, IR
 341   Re: State of the Port                                     CSXT0010545   CSXT0010546        3/25/2015 MacDonald 11                    F, H, DH
 342   Annual Report pdf                                         CSXT0112459   CSXT0112480        3/26/2015                                 NO
 343   RE: NPBL TO NIT                                           CSXT0001276   CSXT0001277        3/27/2015 MacDonald_13                    F, H, DH
 344   Fwd: NIT                                                  CSXT0001280   CSXT0001280        3/29/2015 Kenney 10                       F, H
 345   RE: NIT                                                   CSXT0001283   CSXT0001284        3/30/2015                                 F, H
 346   RE: NIT                                                   CSXT0001289   CSXT0001290        3/30/2015                                 F, H
 347   RE: NIT                                                   CSXT0001291   CSXT0001292        3/30/2015                                 F, H
 348   RE: NIT                                                   CSXT0001293   CSXT0001294        3/30/2015 Kenney_11                       F
 349   image2015-03-31-090036 pdf                                CSXT0113471   CSXT0113471        3/30/2015                                 F
 350   RE: CSX Traffic to NIT via NPBL                           NSR 00047289 NSR 00047290        3/31/2015                                 F
 351   Re: NIT Train                                             CSXT0001301   CSXT0001301        3/31/2015 MacDonald 14                    NO
 352   Fwd: NIT                                                  CSXT0089983   CSXT0089986        3/31/2015 Girardot 16; Strongosky 22      F, H
 353   Re: NIT                                                   CSXT0089992   CSXT0089996        3/31/2015                                 F, H
                                                                 SDT_RES_00029
 354   SDT_RES_000298 pdf                                        8             SDT_RES_000299     3/31/2015 Capozzi_24                       NO
 355   RE: NPBL                                                  CSXT0010554   CSXT0010554         4/1/2015 MacDonald 15                     F, H
                                                                                                            Girardot_17; Houfek_03;
 356   RE: NIT Discussion                                        CSXT0037048    CSXT0037048        4/1/2015 Strongosky 23                    F
                                                                                                            Girardot_17; Houfek_03;
 357   CMA Virginia Options pptx                                 CSXT0037049    CSXT0037049        4/1/2015 Strongosky_23                    F
 358   FW: Port of Virginia Update - Q1 2015                     CSXT0090004    CSXT0090028        4/1/2015                                  F, H, DH
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 7 of 13 PageID# 14894
                                                                   Exhibit C - NS Amended Exhibit List



 359   NIT Contingency Plans pptx                                CSXT0001308    CSXT0001308        4/1/2015                              F
 360   RE: [EXTERNAL] RE: CSX Traffic to NIT via NPBL            NSR_00039774   NSR_00039777       4/2/2015                              F, H
 361   Re: NPBL Recap                                            NSR 00001402   NSR 00001403       4/2/2015 Booth Cary 09                NO
 362   RE: [EXTERNAL] RE: CSX Traffic to NIT via NPBL            NPBL010896     NPBL010899         4/2/2015 Booth Cary 06                NO
 363   RE: [EXTERNAL] RE: CSX Traffic to NIT via NPBL            NSR 00039742   NSR 00039744       4/3/2015                              F, H
 364   [EXTERNAL] CSX                                            NSR 00001401   NSR 00001401       4/3/2015 Booth Cary 07                NO
 365   RE: CMA                                                   CSXT0001319    CSXT0001320        4/5/2015 Kenney_12                    F, H
 366   NPBL000431 pdf                                            NPBL000431     NPBL000439         4/6/2015                              NO
 367   2nd X train to NIT                                        CSXT0001321    CSXT0001321        4/6/2015 MacDonald 16                 NO
 368   2015 Board pdf                                            NPBL018023     NPBL018109         4/6/2015                              NO
 369   RE: Request for Operating Window                          NPBL005672     NPBL005673         4/9/2015 Moss 15                      NO
 370   Re: Request for Operating Window                          CSXT0090280    CSXT0090281        4/9/2015 MacDonald 17                 F, H, DH
 371   Withdrawn
 372   FW: Request for Operating Window                          CSXT0112577    CSXT0112578        4/9/2015                              NO
 373   FW: Request for Operating Window -- NPBL                  CSXT0112579    CSXT0112580        4/9/2015 Kendall_05                   F
 374   Re: NIT Update                                            CSXT0153980    CSXT0153980       4/11/2015 MacDonald 18                 F, H
       Requesting profile from NIT-NPBL-CSX Portsmouth to
 375   NWOH double stack                                         CSXT0010598    CSXT0010598       4/12/2015 MacDonald 19                 NO
 376   RE: Meeting tomorrow                                      CSXT0001345    CSXT0001345       4/13/2015 MacDonald 20                 F, H
 377   RE: NIT / CMA TRAFFIC                                     CSXT0001348    CSXT0001348       4/13/2015 MacDonald_21                 NO
 378   FW: NPBL request for a window to run to NIT               NSR_00001395   NSR_00001396      4/17/2015 Booth_Cary_11                NO
                                                                                                            Hunt 30(b)(6)_10; Moss_14;
 379   Letter for Jeff Yates docx                                NPBL005666     NPBL005667        4/17/2015 NPBL 14; NSR 10              NO
       Fwd: CSX move request--UPDATE; INFORMATION
 380   ONLY                                                      CSXT0131709    CSXT0131710       4/19/2015 Kendall 06; Swafford 01      NO
       RE: CSX move request--UPDATE; INFORMATION
 381   ONLY                                                      CSXT0154004    CSXT0154005       4/19/2015 MacDonald_22                 NO
 382   RE: 37 empty cars to NPBL                                 CSXT0001391    CSXT0001391       4/23/2015 MacDonald 23                 F, H
 383   RE: CSX Cars for NIT Delivered 4/23                       CSXT0004978    CSXT0004979       4/23/2015 MacDonald 24                 F, H, DH
 384   RE: CSX Cars for NIT Delivered 4/23                       NPBL005662     NPBL005664        4/23/2015 Moss 13                      NO
 385   csxapr2015 csv                                            NPBL004140     NPBL004154        4/29/2015 Moss 11                      NO
 386   RE: CMA CSX                                               CSXT0038161    CSXT0038166       4/30/2015 Strongosky_24                F, H, DH

 387   VIT Update Current Situation 4-8-15 Updated Slides pptx   NSR 00081602   NSR 00081613       5/8/2015                              F, H, CON, M
 388   RE: intermodal cars for pick up at the NPBL               CSXT0154039    CSXT0154041        5/8/2015 MacDonald 25                 F, H, DH
 389   Re: Plan for CSX Loading                                  CSXT0004998    CSXT0004998       5/21/2015 MacDonald 26                 NO
 390   RE: Plan for CSX Loading                                  CSXT0005000    CSXT0005002       5/22/2015 Capozzi 04                   NO
 391   RE: Empties for NIT                                       CSXT0001528    CSXT0001529       5/27/2015 MacDonald 27                 NO
 392   RE: Yang Ming                                             CSXT0038547    CSXT0038548       5/27/2015 Strongosky_07                F, H
       RE: NS Crossing at Jax Intermodal Terminal/ Request to
 393   Cross CSX to Increase Intermodal Capacity Jacksonville    CSXT0038572    CSXT0038575       5/28/2015 Houfek 04                    F, H
       RE: NS Crossing at Jax Intermodal Terminal/ Request to
 394   Cross CSX to Increase Intermodal Capacity Jacksonville    CSXT0038582    CSXT0038584       5/28/2015 Girardot 21                  F, H
 395   RE: NIT CARS                                              CSXT0154050    CSXT0154050       5/28/2015 MacDonald 28                 F, H
 396   RE: Empties for NIT                                       CSXT0001537    CSXT0001538        6/1/2015 MacDonald_29                 F, H, DH
       RE: NS Crossing at Jax Intermodal Terminal/ Request to
 397   Cross CSX to Increase Intermodal Capacity Jacksonville    CSXT0038648    CSXT0038652        6/1/2015                              F, H, CON, DH, IR
 398   RE: Empties for NIT                                       CSXT0001558    CSXT0001560       6/10/2015 MacDonald 30                 F, H, DH
 399   Re: CSX Director                                          CSXT0010772    CSXT0010772       6/10/2015 Swafford 02                  IR, M
 400   Re: FW: CSXT Rail cars at NIT                             CSXT0005020    CSXT0005021       6/23/2015 MacDonald 31                 F, H
 401   RE: CSX move                                              NPBL005643     NPBL005644        6/23/2015 Moss_12                      NO
 402   RE: CSX Outbound Train 6/24/15                            NPBL024450     NPBL024451        6/24/2015 MacDonald_32                 F, H
 403   Re: CSX Cars                                              CSXT0154066    CSXT0154068       6/29/2015 MacDonald 33                 NO
 404   Re: Large TEU Ships                                       NSR 00129287   NSR 00129290      7/15/2015 Heller 05                    NO
 405   NPBLTerminationNotice pdf                                 NPBL005634     NPBL005634        8/24/2015 Moss 21                      NO
 406   RE: NIT Moves                                             CSXT0001778    CSXT0001778       8/28/2015 MacDonald 34                 F, H
 407   RE: ZIM - Norfolk NIT Activity                            CSXT0117504    CSXT0117507       9/16/2015 Strongosky_20                NO
 408   Re: CWRY Follow up                                        CSXT0011025    CSXT0011028       9/30/2015 Warren_11                    F, H
 409   FW: CWRY Follow up                                        CSXT0113110    CSXT0113114       10/1/2015                              F, H, DH, CON
 410   Meeting minutes 090215 docx                               CSXT0154107    CSXT0154110       10/6/2015 MacDonald 35                 F, H, DH
 411   Fwd: CSX lift agreement                                   CSXT0040736    CSXT0040736       10/7/2015 Houfek 05                    NO
 412   FW: Commonwealth Railway Legal Advice Requested           CSXT0091385    CSXT0091387      10/19/2015                              F, H
 413   NS Hapag Contract 10-26-15 docx                           NSR 00306263   NSR 00306304     10/26/2015                              F
 414   RE: CWRY (G&W) rate action                                CSXT0041355    CSXT0041356      10/28/2015 Warren_04                    F, H, M
 415   RE: Intl contracts                                        CSXT0001792    CSXT0001795      10/29/2015 Strongosky_12                F, H
 416   FW: CWRY Rate Negotiations                                CSXT0011147    CSXT0011149       11/4/2015 Armbrust 19                  F, H, DH, CON
 417   RE: CWRY Rate Negotiations                                CSXT0011150    CSXT0011152       11/4/2015                              F, H, DH, CON
 418   FW: CSX CWRY Proposal -- update from Arthur               CSXT0091667    CSXT0091668      11/11/2015                              F, H, DH
 419   VPA / Centerpoint pre-meeting                             CSXT0113439    CSXT0113442      11/24/2015 Kendall 16; Swafford 04      F, H
 420   Draft Rail Study VPA_June 2015_v4 pdf                     CSXT0113443    CSXT0113450      11/24/2015 Kendall_16; Swafford_04      F, H, CON, IR
 421   NPBL000447 pdf                                            NPBL000447     NPBL000457        12/9/2015                              NO
 422   NPBL dec 9 2015 board Presentation pdf                    NPBL016810     NPBL016846        12/9/2015                              NO
 423   December meeting minutes                                  CSXT0133116    CSXT0133116      12/15/2015 Kendall 02; Swafford 05      NO
 424   Minutes 12-2015 Board pdf                                 CSXT0133117    CSXT0133120      12/15/2015 Kendall 02; Swafford 05      NO
 425   RE: Follow-up                                             NSR 00122609   NSR 00122611     12/16/2015 Booth Cary 03                NO
 426   NPBL rate proposal pdf                                    CSXT0094743    CSXT0094750       1/12/2016 Swafford_06                  NO
 427   updated cash flow                                         CSXT0005366    CSXT0005366       1/13/2016                              NO
 428   RE: updated cash flow                                     CSXT0005368    CSXT0005369       1/15/2016 Kendall 07; Swafford 07      NO
 429   Consent for 2016 Budget and Bonus Program                 NPBL024618     NPBL024619        1/26/2016 Merilli 04                   NO
 430   RE: MOL Discussions                                       NSR 00005440   NSR 00005442      1/30/2016 Heller 06                    NO
 431   FW VIT Rail Incentive 2016 pdf                            NSR 00005438   NSR 00005439      2/25/2016                              NO
 432   FW: VIT dray rates                                        CSXT0002156    CSXT0002156       3/28/2016 Houfek_06                    F, H
 433   Annual_Report pdf                                         NPBL015601     NPBL015622        4/19/2016                              NO
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 8 of 13 PageID# 14895
                                                                 Exhibit C - NS Amended Exhibit List



 434   NPBL Term Letter-4-26-16 Final doc                      NSR_00007168   NSR_00007169      4/26/2016 Moss_23                             NO
 435   FW: Additional information for updates during Meeting   CSXT0133903    CSXT0133903       4/26/2016 Kendall_08; Swafford_08             NO
 436   NPBL Liability Quotes pdf                               CSXT0133904    CSXT0133907       4/26/2016 Kendall 08                          NO
 437   NPBL Term Letter pdf                                    CSXT0133908    CSXT0133909       4/26/2016 Swafford 08                         NO
 438   NPBL000488 pdf                                          NPBL000488     NPBL000496        4/28/2016                                     NO
 439   RE: Inland pricing via Baltimore                        CSXT0045124    CSXT0045128       5/26/2016 Houfek 07                           F, H, DH, CON
                                                                                                          Allan_07; Booth_Cary_15; Hunt
                                                                                                          30(b)(6)_08; Moss_18; NPBL_18;
 440   RE: NBPL and NIT Switching                              NSR 00001460   NSR 00001460       7/1/2016 NSR 08                              NO
       RE: NS Outbound Train APNS001655 Departing APM
 441   Terminals 22July16                                      CSXT0002550    CSXT0002551       7/22/2016 Girardot 30(b)(6) 09                H, F
       Re: WCSAM service dropping NY and calling
 442   Philadelphia                                            CSXT0046487    CSXT0046489        8/1/2016 Strongosky 08                       F, H, DH, CON
 443   RE: ICTF Rates                                          CSXT0046671    CSXT0046674        8/5/2016 Piacente_03                         F, IR, H, DH
                                                                                                          Girardot 30(b)(6)_22;
 444   Re: ICTF Rates/MOL Characterizations: Confidential      CSXT0046708    CSXT0046712        8/5/2016 Strongosky 18                       F, H, DH, CON, IR
 445   INTL Strategy Deck 08232016 pptx                        CSXT0046841    CSXT0046841       8/10/2016 Strongosky 02                       F, CON, M
 446   RE: Port of Virginia Lift and Drayage Agreement         CSXT0047052    CSXT0047052       8/19/2016                                     F, H, DH
 447   8100TariffDoc 1-25-16 (1) pdf                           CSXT0114874    CSXT0114934        9/9/2016 DiDeo 01                            IR, F, CON, M
 448   Fwd: Port of Virginia                                   CSXT0047745    CSXT0047745       9/12/2016 Strongosky_25                       F, H
 449   CSX's U S East Coast Port Service Plan Survey pdf       CSXT0047746    CSXT0047754       9/12/2016 Strongosky_25                       F, H
 450   COSCO Agreement 16-19 pdf                               NSR 00013276   NSR 00013311      9/16/2016                                     F
 451   COSCO Amendment #7 pdf                                  NSR 00013334   NSR 00013339      9/16/2016                                     F
 452   CWRY104 RTP Master 03012016 executed pdf                CSXT0048370    CSXT0048385       10/5/2016 Girardot 30(b)(6) 25                NO
 453   VA Letter docx                                          CSXT0096238    CSXT0096238      10/12/2016 Strongosky 26; Warren 24            NO
 454   VA Letter docx                                          CSXT0096239    CSXT0096240      10/12/2016 Strongosky_26; Warren_24            NO
 455   Re: HamSud Jaxport Prices                               CSXT0048822    CSXT0048825      10/21/2016 Piacente_04                         F, IR, H, DH, CON
 456   FW: OOCL Eastern Railroad Volumes                       CSXT0049331    CSXT0049333      11/11/2016                                     NO
 457   RE: OOCL Eastern Railroad Volumes                       CSXT0049414    CSXT0049417      11/14/2016                                     F
 458   RE: CSX Visit to Norfolk on November 22                 CSXT0049507    CSXT0049510      11/16/2016 Vick 30(b)(6) 04; Warren 08         NO
 459   Re: OOCL Eastern Railroad Volumes/Zim Volumes           CSXT0002920    CSXT0002925       12/2/2016 Houfek 10                           NO
 460   NPBL_dec_7_2016_board_Presentation pptx                 NPBL005577     NPBL005601        12/5/2016                                     NO
 461   RE: FOR DEAN - Lane / Volume Opportunities              CSXT0050219    CSXT0050221       12/5/2016                                     NO
 462   Re: MSC Talking Points for Dean convers with Tonino     CSXT0050447    CSXT0050448       12/5/2016 Kenney 15                           F
 463   NPBL000541 pdf                                          NPBL000541     NPBL000551        12/7/2016 Hurlbut 03; Merilli 07              NO
 464   Action Item 6 - NPBL Board Meeting pdf                  CSXT0116513    CSXT0116513       12/9/2016 Swafford 08                         NO
 465   PORT OF VIRGINIA operating details                      CSXT0050615    CSXT0050615      12/12/2016 MacDonald 36                        F, H
 466   RE: PMT<=>NIT Barge service                             CSXT0096473    CSXT0096476      12/14/2016 Piacente 05                         NO
 467   2016 Board pdf                                          NPBL018110     NPBL018147       12/20/2016                                     NO
 468   RE: Contract Update: Week Ending 01/06/2017             CSXT0051809    CSXT0051811       1/13/2017                                     NO
 469   RE: "What If" from Maersk                               CSXT0052080    CSXT0052083       1/19/2017 Girardot 03; Strongosky 13          F, H
 470   NIT Containers                                          CSXT0052112    CSXT0052117       1/19/2017                                     F, H, CON, M, IR
 471   RE: 2017 CSXT Contract Offer to Hyundai                 CSXT0003042    CSXT0003044       1/20/2017 Strongosky 17                       NO
 472   NIT: Barge analysis: HIGHLY CONFIDENTIAL                CSXT0096707    CSXT0096710       1/20/2017 Armbrust 21; Girardot 22            F, H
 473   NIT CSX rail barge drayage cost analysis Final docx     CSXT0096711    CSXT0096711       1/20/2017 Girardot_22                         F, H
 474   Re: NIT: Barge analysis: HIGHLY CONFIDENTIAL            CSXT0096717    CSXT0096719       1/20/2017 Kendall_04                          F, H
 475   2017125 ZIM pptx                                        CSXT0052366    CSXT0052366       1/25/2017 Strongosky 03                       F
 476   RE: Virginia and Barge Service                          CSXT0054390    CSXT0054390       2/27/2017 Kenney 07                           F
 477   FW: OOCL                                                CSXT0096883    CSXT0096884       2/28/2017 Armbrust 22                         F, H
 478   RE: OOCL                                                CSXT0096945    CSXT0096946        3/1/2017                                     F, H
 479   RE: OOCL                                                CSXT0117047    CSXT0117049        3/1/2017                                     F, H
 480   FW: OOCL msg                                            CSXT0135620    CSXT0135621        3/1/2017 Warren_14                           F, H
 481   Fwd: OOCL                                               CSXT0097050    CSXT0097052        3/2/2017 Piacente 13; Strongosky 19          F, H, DH
 482   RE: ZIM - Norfolk NIT Activity                          CSXT0136053    CSXT0136056       3/22/2017                                     NO
 483   Annual Report pdf                                       CSXT0117561    CSXT0117582       3/27/2017                                     NO
       RE: Coast Guard Blvd Property - Portsmouth, VA -
 484   Activity No 1214735                                     NSR_00005071   NSR_00005075       4/3/2017                                     F, H
 485   NPBL000562 pdf                                          NPBL000562     NPBL000572         4/5/2017                                     NO
 486   VIT Discussion 20170405 [Autosaved] pptx                CSXT0003124    CSXT0003124        4/5/2017 Girardot 05                         F
 487   FW: Beltline charges                                    CSXT0055536    CSXT0055536        4/6/2017 Girardot 13                         F
 488   Google Earth Images                                                                      4/10/2017 Moss 10                             NO
 489   ADM Final 2017-19 pdf                                   NSR 00013115   NSR 00013134      6/24/2017                                     F
 490   Intermodal Activity Report - Week Ending 7/28/17        NSR 00041601   NSR 00041606       8/2/2017                                     F, H, DH, IR, CON
 491   Intermodal Activity Report - Week Ending 8-4-17 pdf     NSR_00041595   NSR_00041600       8/9/2017                                     F, H, DH, IR, CON
                                                                                                          Armbrust_210325_08;
                                                                                                          Burns_210325_01; Eliasson_07;
                                                                                                          Girardot 30(b)(6)_10; Kendall_01;
 492   Affiliate Board Service Reference Guide (2017) pdf      CSXT0154794    CSXT0154816       8/11/2017 Swafford 03                         NO
       8/15/2017 Trade Groups Call on U S to Investigate CSX                                                                                  F, IR, H, DH, CON,
 493   Rail Disruptions                                                                         8/15/2017 Piacente 6                          M, P
       Re: Syracuse Inland Port: Prepared at the Request of
 494   Counsel                                                 CSXT0097850    CSXT0097853        9/7/2017 Girardot 02                         F, H, CON
                                                                                                                                              F, H, DH, IR, M,
 495   FW: CSX Service Claim Discussion - CMA CGM/APL          CSXT0137043    CSXT0137044       9/13/2017                                     CON, P
 496   Intermodal Activity Report - Week Ending 10-13-17 pdf   NSR_00001246   NSR_00001250     10/18/2017                                     F, H, DH, IR, CON
 497   Intermodal Activity Report - Week Ending 10-27-17 pdf   NSR_00001289   NSR_00001292      11/1/2017                                     F, H, DH, IR, CON
 498   CMA and Zim Vessels Moving NIT to PMT                   CSXT0013277    CSXT0013277       12/1/2017 Piacente 08                         H, DH
 499   NPBL000584 pdf                                          NPBL000584     NPBL000590        12/5/2017 Moss 30                             ID
 500   NPBL000613 pdf                                          NPBL000613     NPBL000629        12/5/2017                                     NO
 501   NPBL000666 pdf                                          NPBL000666     NPBL000674        12/5/2017                                     NO
 502   2017 Board pdf                                          NPBL018148     NPBL018182        12/5/2017                                     NO
                                                                                                          Capozzi_17; Girardot_08;
 503   RE: Drayage for Misrouted containers                    CSXT0063227    CSXT0063228      12/14/2017 Piacente_07                         F, H, IR, CON, M, P
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 9 of 13 PageID# 14896
                                                                      Exhibit C - NS Amended Exhibit List



 504   RE: NY to Pittsburgh                                         CSXT0063241    CSXT0063243      12/15/2017 Piacente_01; Strongosky_10         F, H
       FW: ONE Pre-call discussion and then call with ONE to
 505   discuss bid status                                           CSXT0003542    CSXT0003542       1/11/2018 Strongosky 09                      H, F
 506   K LINE - 15 Jan 2018 pptx                                    NSR 00009598   NSR 00009617      1/15/2018 Joyner 30(b)(6) 18; NSR 18         NO
 507   Joint meeting in Jax                                         CSXT0063563    CSXT0063563       1/16/2018 Capozzi 18                         F, H
 508   RE: Joint meeting in Jax                                     CSXT0063567    CSXT0063568       1/17/2018 Girardot 09                        F, H
 509   RE: Pmt rail and CSX                                         CSXT0013337    CSXT0013339       1/19/2018 Girardot_10; Strongosky_14         F, H, DH
 510   NIT                                                          CSXT0003591    CSXT0003591       1/22/2018 Girardot_18                        F
 511   NIT Access Discussion 20180116 pptx                          CSXT0003592    CSXT0003592       1/22/2018 Girardot 18; MacDonald 37          F
       Accepted:NPBL/NIT: Skype Conf Call with Rob Girardot
 512   and CSX outside counsel                                      CSXT0119073    CSXT0119073       1/24/2018 Girardot 23                        F, IR
 513   2018 Board pdf                                               NPBL018183     NPBL018216        1/25/2018                                    NO
 514   norfolksouthern2 pdf                                         CSXT0000669    CSXT0000685       1/27/2018 Hunt 30(b)(6) 05; NSR 05           NO
 515   NIT Access Discussion 20180116 pdf                           CSXT0003603    CSXT0003616       1/28/2018                                    F
 516   RE: Reinhart John F                                          CSXT0138590    CSXT0138591       1/30/2018 Piacente_09                        F, H
 517   NIT Transfer Pro Forma Income Statement xlsx                 CSXT0003624    CSXT0003624        2/1/2018 Girardot 210317 18                 F
 518   RE: Imports                                                  CSXT0003625    CSXT0003628        2/1/2018 Strongosky 11                      F, H
 519   Email re: Imports                                                                              2/1/2018 Strongosky 11                      F, H
       2/1/201 magazine article - "Port of Virginia sets date for
 520   NIT trucker appointments"                                                                      2/1/2018 Wagel 2                            F, H
 521   Draft notes White Mtg 272018 RJG Notes docx                  CSXT0158993    CSXT0158995        2/9/2018 Girardot_210317_01                 F, H, DH
 522   RE: White Draft Notes                                        CSXT0158991    CSXT0158992       2/14/2018 Girardot 210317 01                 F, H, DH
 523   RE: NPBL costing analysis                                    CSXT0099792    CSXT0099800       2/22/2018 Girardot 30(b)(6) 19               F, H
 524   Fwd: The Alphaliner Newsletter - edition 2018 - 09           CSXT0064443    CSXT0064443       2/28/2018 Piacente 02                        F, IR, H, DH
 525   image001 jpg                                                 CSXT0064444    CSXT0064444       2/28/2018 Piacente 02                        F, IR, H, DH
 526   ATT00001 htm                                                 CSXT0064445    CSXT0064445       2/28/2018 Piacente_02                        F, IR, H, DH
 527   ~WRD000 jpg                                                  CSXT0064446    CSXT0064446       2/28/2018 Piacente_02                        F, IR, H, DH
 528   ATT00002 htm                                                 CSXT0064447    CSXT0064447       2/28/2018 Piacente 02                        F, IR, H, DH
 529   Alphaliner Newsletter no 09 - 2018 pdf                       CSXT0064448    CSXT0064463       2/28/2018 Piacente 02                        F, IR, H, DH
 530   ATT00003 htm                                                 CSXT0064464    CSXT0064464       2/28/2018 Piacente 02                        F, IR, H, DH
 531   2018 Seaboard renewal letter docx                            CSXT0159221    CSXT0159223        3/2/2018                                    F, IR

 532   CSXT Response to CMA CGM 3-3-18 docx                         CSXT0159246    CSXT0159247        3/5/2018                                    F, H, DH, CON, M, P
 533   Confidential Rate Proposal 3-6-18 docx                       CSXT0154933    CSXT0154933        3/6/2018 Armbrust 210325 01                 F
 534   NPBL Costing, 2-21-18 xlsx                                   CSXT0064610    CSXT0064610        3/9/2018 Girardot 210317 17                 F
 535   Confidential Rate Proposal 3-6-18 (003)M (2) docx            CSXT0154942    CSXT0154942        3/9/2018 Armbrust 210325 03                 F
 536   Confidential Rate Proposal 3-9-18 docx                       CSXT0154949    CSXT0154949        3/9/2018 Armbrust 210325 04                 F
 537   RE: Savannah vs Jacksonville - Nashville                     CSXT0159371    CSXT0159372       3/22/2018 Girardot 210317 06                 F, H, IR, CON
 538   FW: Rate Proposal for Long Term Rail Service to NIT          CSXT0013434    CSXT0013434       3/23/2018 DiDeo_09                           NO
 539   Rate Proposal for Long Term Rail Service to NIT pdf          CSXT0013435    CSXT0013448       3/23/2018 DiDeo_09; MacDonald_38             NO
 540   Rate Proposal for Long Term Rail Service to NIT pdf          CSXT0100329    CSXT0100342       3/23/2018 Armbrust 25                        NO
 541   Exhibit A pdf                                                CSXT0120383    CSXT0120397       3/23/2018 Swafford 10                        NO
 542   FW: Rate Proposal for Long Term Rail Service to NIT          CSXT0139902    CSXT0139902       3/23/2018                                    F
 543   Rate Proposal for Long Term Rail Service to NIT pdf          CSXT0139903    CSXT0139916       3/23/2018 Armbrust 210325 02; Burns 02       NO
       2018-03-23 CSXT Rate Proposal for Long Term Rail
 544   Service - Ex E to Complaint                                                                   3/23/2018 Girardot 30(b)(6) 12               NO
 545   Rate Proposal for Long Term Intermodal service to NIT        NPBL006296     NPBL006296        3/26/2018                                    NO
 546   FW: Rate Proposal for Long Term Rail Service to NIT          NPBL006311     NPBL006311        3/26/2018                                    NO
       FW: Rate Proposal for Long Term Intermodal service to
 547   NIT                                                          CSXT0140028    CSXT0140028       3/27/2018                                    F
 548   FW: Rate Proposal for Long Term Rail Service to NIT          CSXT0140145    CSXT0140146       3/28/2018 Swafford_11                        NO
                                                                                                               Capozzi_19; Girardot_11;
 549   [E]Re: Columbia Charleston PMT to NIT                   CSXT0065147         CSXT0065150       3/29/2018 Strongosky 15                      F, H, IR, CON, M, P
       FW: Rate Proposal for Long Term Intermodal service to
 550   NIT                                                     CSXT0119620         CSXT0119621        4/2/2018 Swafford 13                        NO
 551   FW: Rate Proposal for Long Term Rail Service to NIT     CSXT0100498         CSXT0100499        4/3/2018                                    F, H
 552   RE: RE: Rate Proposal for Long Term Rail Service to NIT NPBL006257          NPBL006258         4/4/2018 Dideo_11                           NO

 553   Board and Stockholder Docket for April 18, 2018 meeting      NPBL006179     NPBL006179         4/5/2018 Hall 11; Hurlbut 11; Merilli 12  NO
 554   Annual Report pdf                                            NPBL006180     NPBL006200         4/5/2018 Hall 12; Hurlbut 12; Merilli 13  NO
 555   April 2018 Board Docket pdf                                  NPBL006201     NPBL006211         4/5/2018 Hall 13; Hurlbut 13; Merilli 14  NO
 556   April 2018 Stockholders Meeting Docket pdf                   NPBL006212     NPBL006213         4/5/2018 Hall 14                          NO
                                                                                                               Coleman_37; Hall_15; Hurlbut_14;
 557   Response_to_CSX's_Rate_Proposal pdf                          NPBL006228     NPBL006229         4/5/2018 Moss_36                          NO
 558   FW: RE: NIT                                                  NPBL006232     NPBL006236         4/5/2018 Hall_16; Merilli_16              NO

 559   Board and Stockholder Docket for April 18, 2018 meeting      CSXT0119634    CSXT0119634        4/5/2018 Swafford 15                        F
 560   April 2018 Board Docket pdf                                  CSXT0119637    CSXT0119647        4/5/2018 Swafford 15                        F
 561   Response to CSX's Rate Proposal pdf                          CSXT0119648    CSXT0119649        4/5/2018 Swafford 15                        F
 562   Rate Proposal for Long Term Rail Service to NIT PDF          CSXT0119650    CSXT0119663        4/5/2018 Swafford_15                        F
 563   Annual Report pdf                                            CSXT0119664    CSXT0119684        4/5/2018 Swafford_15                        F
                                                                                                               Armbrust_26; Burns_04;
                                                                                                               DiDeo_12; Girardot 30(b)(6)_14;
 564   FW: Rate Proposal for Long Term Rail Service to NIT          CSXT0119685    CSXT0119686        4/5/2018 Swafford 14                        NO
                                                                                                               Hall_07; Hurlbut_07; Merilli_08;
 565   Letter from CSX                                              CSXT0006383    CSXT0006390        4/6/2018 Moss_06; NPBL_06; Summy_18         NO
 566   V1222scan140242 pdf                                          CSXT0100552    CSXT0100559        4/6/2018 Armbrust_27; Burns_05              NO
       2018-04-06 CSXT Demand that NPBL Take Remedial
 567   Actions - Ex F to complaint                                                                    4/6/2018 Girardot 30(b)(6) 13               NO
                                                                                                               Vick 2 5 21_Prev_05; Vick
 568   CSX Securing NIT Access                                      VPA000074      VPA000074          4/9/2018 30(b)(6) 05                        NO
 569   Re: Short Lines at Ports                                     CSXT0065322    CSXT0065324       4/10/2018 DiDeo_02                           F, H
 570   Accepted: NPBL pregame and dry-run                           CSXT0119693    CSXT0119693       4/12/2018                                    F
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 10 of 13 PageID# 14897
                                                                Exhibit C - NS Amended Exhibit List



  571   041318-Cannon Moss pdf                                CSXT0100713      CSXT0100714     4/13/2018 Moss_34; Vick 30(b)(6)_15           NO
  572   [E]FW: Letter to NPBL from POV                        CSXT0119754      CSXT0119755     4/13/2018 Capozzi_13                          NO
  573   VPA001846 pdf                                         VPA001846        VPA001846       4/13/2018 Vick 30(b)(6) 06                    NO
  574   Letter from VPA to NPBL                               VPA001847        VPA001847       4/13/2018 Vick 30(b)(6) 06                    NO
  575   Letter from NPBL to VPA                               VPA001848        VPA001848       4/13/2018 Vick 30(b)(6) 06                    NO
  576   VPA001849 pdf                                         VPA001849        VPA001849       4/13/2018 Vick 30(b)(6) 07                    NO
  577   Letter from NPBL to VPA                               VPA001850        VPA001851       4/13/2018 Vick 30(b)(6)_07                    NO
                                                                                                         Vick 2 5 21_Prev_08; Vick
  578   VPA001852 pdf                                         VPA001852        VPA001852       4/13/2018 30(b)(6) 08                         NO
                                                                                                         Vick 2 5 21_Prev_08; Vick
  579   Letter from NPBL to VPA                               VPA001853        VPA001854       4/13/2018 30(b)(6) 08                         NO
  580   color 10 33 41 89mju89 106101238639 pdf               NSR 00073175     NSR 00073175    4/16/2018 Summy 25                            F, H
  581   Mar pdf                                               CSXT0100958      CSXT0100969     4/16/2018                                     NO
  582   V1222scan083557 pdf                                   CSXT0151971      CSXT0151975     4/16/2018 Armbrust_28                         NO
  583   Fw: Jim White's Asia Presentation                     CSXT0159555      CSXT0159555     4/16/2018 Girardot_210317_03                  F, H, CON
  584   asia january 2018 evergreen pdf                       CSXT0159556      CSXT0159587     4/16/2018 Girardot 210317 03                  F, H, CON
  585   ATT00001 htm                                          CSXT0159588      CSXT0159588     4/16/2018 Girardot 210317 03                  F, IR
                                                                                                         Hall_09; Hurlbut_09; Merilli_10;
  586   Armbrust letter - 041718 pdf                          NSR 00035194     NSR 00035197    4/17/2018 Moss 08; NPBL 08; Summy 21          NO

  587   2018-04-17 CSX Q1 2018                                                                 4/17/2018 Strongosky 16                       F, IR, M, CON, P, H
  588   NPBL000682 docx                                       NPBL000682       NPBL000682      4/18/2018                                     IR
  589   NPBL000745 pdf                                        NPBL000745       NPBL000747      4/18/2018 Moss 41                             NO
  590   NPBL000749 pdf                                        NPBL000749       NPBL000756      4/18/2018 Coleman 39                          NO
  591   NPBL000757 doc                                        NPBL000757       NPBL000758      4/18/2018 Girardot 30(b)(6) 21                NO
  592   Minutes 4-2018 Stockholders pdf                       NSR_00000845     NSR_00000853    4/18/2018 Moss_40                             NO
  593   Minutes 4-2018 Board cont doc                         NPBL019978       NPBL019979      4/18/2018 Girardot 30(b)(6)_15                NO
  594   Dec 17th Board Docket pdf                             CSXT0122336      CSXT0122346     4/18/2018                                     F
  595   John Reinhart response 04192018 pdf                   NPBL005878       NPBL005878      4/19/2018 Moss 35                             NO
  596   FW: NBPL Agreement Questions                          NPBL005881       NPBL005883      4/19/2018 Moss 24                             NO
  597   NPBL Response to Letter from POV                      VPA000001        VPA000121       4/19/2018                                     F, ID
  598   Annual Report pdf                                     CSXT0149080      CSXT0149100     4/19/2018 Armbrust_23; Burns_06               NO
  599   Letter from NPBL to VPA                               VPA000002        VPA000002       4/19/2018 Vick 30(b)(6)_09                    NO
  600   FW: VIT Tariff                                        CSXT0101159      CSXT0101161     4/27/2018                                     F, H
  601   Exhibit F pdf                                         CSXT0120463      CSXT0120498     4/30/2018 Swafford 16                         F
  602   Re: February 2018 Verified Lifts                      NSR 00005961     NSR 00005968     5/2/2018 Joyner 30(b)(6) 21; NSR 21          NO
  603   FW: [E]RE: Re: Follow up                              CSXT0101270      CSXT0101272      5/2/2018 Girardot 14                         F, H
  604   John Reinhart response 04192018 pdf                   CSXT0101273      CSXT0101273      5/2/2018 Girardot 30(b)(6) 03; Girardot 14   NO
  605   Fwd: HST Project - Presentation Draft                 CSXT0159807      CSXT0159807      5/5/2018 Girardot_210317_04                  F, H, CON
  606   HST Project - Presentation Draft 5 5 pdf              CSXT0159808      CSXT0159819      5/5/2018 Girardot_210317_04                  F, H, CON
  607   HST Project - Presentation Draft 5 5 pptx             CSXT0159821      CSXT0159821      5/5/2018 Girardot 210317 04                  F, H, CON
  608   RE: Howard Street Tunnel Draft - May 9th              CSXT0154623      CSXT0154628     5/13/2018 Girardot 06                         F, IR, CON
  609   RE: VPA Lifts                                         NSR 00005921     NSR 00005923    5/14/2018                                     F, H, DH
  610   V1222scan163105 pdf                                   CSXT0142622      CSXT0142628     5/18/2018 Swafford 17                         NO
  611   Letter from CSX                                       CSXT0142633      CSXT0142638     5/18/2018                                     NO
  612   RE: VA Del Yancey Visit to HQ - June 18               CSXT0120278      CSXT0120279     5/22/2018 Warren_26                           F, H
  613   Draft 1 pager for VA Event                            CSXT0120340      CSXT0120340     6/19/2018 Warren 10                           F, H
  614   Virginia International Gateway Event docx             CSXT0120341      CSXT0120341     6/19/2018 Warren 10                           F, H

  615   Demand to Take Immediate Action                         NSR 00000001   NSR 00000015    6/22/2018 Armbrust 29; Girardot 30(b)(6) 16 NO
  616   CSXT Demand Letter dated June 22 2018 pdf               CSXT0143544    CSXT0143558     6/22/2018                                   NO
        Letter dated June 22, 2018 to Norfolk & Portsmouth Belt
        Line Railroad Company from Steven Armbrust re Demand
  617   to Take Immediate Action                                                               6/22/2018 Merilli 21                          NO
                                                                                                         Vick 2 5 21_Prev_10; Vick
  618   CSX Thanks Port of Virginia                           VPA000078        VPA000078       6/27/2018 30(b)(6) 10                         NO
        RE: VA Port Authority Service NIT Access Maps
  619   20180131 Understanding the Neighborhood pdf           CSXT0003851      CSXT0003853     6/29/2018                                     F
  620   RE: POV vs NYNJ Slides - through May                  NSR 00059656     NSR 00059657     7/9/2018                                     F, H
  621   RE: 7 12 PA HST Draft RJG Edits2 pptx                 CSXT0160581      CSXT0160581     7/19/2018 Girardot 210317 02                  F, H, CON
  622   7 12 PA HST Draft RJG Edits2 pptx                     CSXT0160582      CSXT0160582     7/19/2018 Girardot 210317 02                  F, H, CON
  623   RE: Meeting Notes                                     CSXT0067164      CSXT0067166     7/20/2018 Capozzi 05; Girardot 30(b)(6) 23    NO
  624   RE: Indianapolis service                              CSXT0067227      CSXT0067230     7/23/2018 Girardot 19                         F, H, IR, CON
  625   Armbrust_Letter_072718_-_GES pdf                      NPBL005862       NPBL005863      7/27/2018 Summy_33                            NO
  626   Armbrust Letter 072718 - GES pdf                      CSXT0143567      CSXT0143568     7/27/2018                                     F

                                                                                                         Capozzi_21; Vick 2 5 21_Prev_11;
  627   RE: Notes from meeting on July 13 in Nofolk           CSXT0121480      CSXT0121483      8/1/2018 Vick 30(b)(6) 11                 NO
  628   Virginia Port Meeting Monday August 6                 CSXT0101731      CSXT0101732      8/2/2018 Piacente 10                      F, H
                                                                                                         Kenney_17; Piacente_11;
  629   VPA Meeting - DRAFT NOTES                             CSXT0067839      CSXT0067841      8/8/2018 Warren_09                        F, H, DH
  630   NPBL000694 docx                                       NPBL000694       NPBL000696      8/13/2018                                  IR
  631   SKM C454e18081411250tkey7 226105331610 pdf            NPBL005855       NPBL005856      8/14/2018                                  F, IN
  632   Port of Virginia lift/dray agreement                  CSXT0068354      CSXT0068354     8/20/2018 Dideo 08                         F, H
  633   F2697scan080125 pdf                                   CSXT0068355      CSXT0068356     8/20/2018 Dideo 08                         F, H
  634   Update on negotiations with NS over trackage rights   NPBL005850       NPBL005850      8/27/2018 Hall_05; Hurlbut_02; Merilli_05  NO
  635   SSW Trackage Rights Cases (1 of 2)                    CSXT0155378      CSXT0155379      9/6/2018 Armbrust_210325_06               NO
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 11 of 13 PageID# 14898
                                                                    Exhibit C - NS Amended Exhibit List



                                                                                                             Booth_26; Coleman_26;
                                                                                                             Coleman_35; Coleman_40;
                                                                                                             Hall_08; Hall_10; Hall_18;
                                                                                                             Hall_19; Hunt 30(b)(6)_02;
                                                                                                             Hurlbut_08; Hurlbut_10;
                                                                                                             Hurlbut_16; Hurlbut_18;
                                                                                                             Merilli_09; Merilli_11; Merilli_17;
                                                                                                             Merilli_19; Moss_07; Moss_09;
                                                                                                             Moss_31; Moss_39; NPBL_07;
                                                                                                             NPBL_09; NPBL_31; NSR_02;
                                                                                                             Stinson_19; Summy_04;
                                                                                                             Summy_20; Summy_22;
                                                                                                             Summy_27; Summy_28;
        2018 06 22 - Exhibits to CSXT Demand Letter to                                                       Summy_30; Summy_31;
  636   NPBL pdf                                                  CSXT0101883    CSXT0102028        9/7/2018 Wheeler 10                          NO

                                                                                                             Coleman_38; Hall_21; Hurlbut_20;
  637   NPBL_Response_to_CSX_Demand_Letter_091118 pdf             NPBL005840     NPBL005841        9/11/2018 Merilli_22; Moss_37; Summy_34 NO
  638   NPBL Response to CSX Demand Letter 091118 pdf             CSXT0147011    CSXT0147012       9/11/2018                                  NO
        2018-09-13_NS Petition to Set Track Rights
  639   Comp NPBL pdf                                             CSXT0148830    CSXT0148861       9/14/2018                                   NO
        [EXTERNAL] RE: Update on negotiations with NS over
  640   trackage rights                                           NSR 00073932   NSR 00073933      9/17/2018 Merilli 06                        NO
  641   FW: Petition To Set Terms - Final - Filed 9-13-18 pdf     NSR_00049469   NSR_00049470      9/20/2018 Wheeler_07                        IN
  642   Re: Question from Del Yancey                              CSXT0145488    CSXT0145489       9/21/2018 Warren_27                         F, H
  643   POV Holding Statement - CSX / NS Lawsuit                  VPA001901      VPA001901         10/1/2018 Vick 30(b)(6) 13                  F, H
                                                                                                             Vick 2 5 21_Prev_12; Vick
  644   Complaint - CSX vs NSR                                    VPA001857      VPA001897         10/4/2018 30(b)(6) 12                       F, H
                                                                                                             Vick 2 5 21_Prev_12; Vick
  645   VPA001856 pdf                                             VPA001856      VPA001856         10/5/2018 30(b)(6)_12                       F, H

                                                                                                             Girardot 30(b)(6)_05; Girardot
                                                                                                             30(b)(6)_07; Girardot 30(b)(6)_12;
  646   1-00 Complaint (with exhibits) pdf                        CSXT0122029    CSXT0122119       10/8/2018 Girardot 30(b)(6) 13; Swafford 09 NO
        Press Release: CSX sues Norfolk Southern and short-line
  647   railroad                                                  VPA001902      VPA001905         10/8/2018 Vick 30(b)(6)_13                  F, H
                                                                                                             Vick 2 5 21_Prev_14; Vick
  648   CSX Complaint                                             VPA000130      VPA000130         10/9/2018 30(b)(6) 14                       IR
  649   VPA001900 pdf                                             VPA001900      VPA001900         10/9/2018 Vick 30(b)(6) 13                  F, H
  650   VPA001911 pdf                                             VPA001911      VPA001911         10/9/2018 Capozzi 22                        F, H
  651   RE: West vs East Breakdown                                CSXT0069501    CSXT0069504      10/10/2018 Kenney 06; Strongosky 21          F, H
                                                                                                             Hurlbut_17; Merilli_18;
  652   NPBL000730 doc                                          NPBL000730       NPBL000736       12/17/2018 Summy_29                          NO
  653   NPBL Dec 17th board Presentation pdf                    NPBL005681       NPBL005693       12/17/2018                                   NO
  654   International Strategy Document                         CSXT0162721      CSXT0162721      12/27/2018 Girardot 210317 05                F
  655   International Strategy draft pdf                        CSXT0162722      CSXT0162730      12/27/2018 Girardot 210317 05                F
  656   International Strategy pptx                             CSXT0162731      CSXT0162731      12/27/2018 Girardot 210317 05                F
  657   RE: International Strategy Document                     CSXT0162834      CSXT0162834        1/4/2019 Kenney_210326_03                  F
  658   Tables for Intl Strategy Presentation xlsx              CSXT0162835      CSXT0162835        1/4/2019 Kenney_210326_03                  F
  659   International Strategy v2 pptx                          CSXT0162836      CSXT0162836        1/4/2019 Kenney 210326 03                  F
        RE: International: Intermodal East vs West Coast Volume
  660   Mix                                                     CSXT0071758      CSXT0071761        1/9/2019 Girardot 04                       F, H
        RE: Port of NY and NJ Port Facility Rail Intermodal
  661   Container Terminals (on Conrail)                        CSXT0072078      CSXT0072080       1/18/2019 Girardot_07                       F, H, IR
        FW: Cordele Discussion - 3rd Party Access To/From
        Savannah GPA Chatham ICTF across CSX-Prepared at
  662   Request of Counsel                                      CSXT0103934      CSXT0103935        2/7/2019 Dideo 03                          F, H, IR, CON, M
  663   RE: Cordele Discussion - Chatham ICTF across CSX        CSXT0103955      CSXT0103957        2/7/2019 Armbrust 10                       F, H, IR, CON, M
  664   [E]MSC                                                  CSXT0072702      CSXT0072702       2/19/2019 Strongosky 27                     F, H
  665   [E]Re: Network balance                                  CSXT0072963      CSXT0072965       2/24/2019 Capozzi 16                        F, H
                                                                                                             Girardot_24; Kenney_16;
  666   RE: Port of VA Questions/Issues UPDATE                    CSXT0073025    CSXT0073030        3/1/2019 Strongosky_28                     F, H, M, CON, P
  667   Re: Port of VA Questions/Issues UPDATE                    CSXT0151455    CSXT0151460        3/6/2019 Warren 25                         F, H, M, CON, P
  668   2018 Annual Report pdf                                    CSXT0123240    CSXT0123261        4/3/2019 Burns 07                          NO
  669   RE: Portsmouth                                            CSXT0073827    CSXT0073828        4/4/2019 Wagel 01                          F, H
  670   Re: CMA Volume on CSX                                     CSXT0074048    CSXT0074051        4/9/2019                                   F, H
        Savannah and Charleston info - per our meeting on
  671   Monday                                                    CSXT0164575    CSXT0164575       4/12/2019 Kenney_210326_04                  F, H
  672   Savannah Operations docx                                  CSXT0164576    CSXT0164578       4/12/2019 Kenney 210326 04                  F, H
  673   Z train Map pdf                                           CSXT0164579    CSXT0164579       4/12/2019 Kenney 210326 04                  F, H
  674   Charleston Operations docx                                CSXT0164580    CSXT0164581       4/12/2019 Kenney 210326 04                  F, H
  675   April 2019 Board Docket pdf                               NPBL026370     NPBL026379        4/15/2019                                   NO
  676   RE: MSC and increased volumes                             CSXT0074449    CSXT0074451       4/18/2019 Warren_05                         F, H
  677   RE: Aging Exports at Portsmouth                           CSXT0074541    CSXT0074552       4/22/2019 Wagel_06                          F, H
  678   Letter from CSX                                           NSR 00183037   NSR 00183039      4/23/2019                                   NO
  679   2019 Board pdf                                            NPBL018217     NPBL018230        4/24/2019                                   NO
  680   Re: NIT Exports                                           CSXT0074717    CSXT0074718       4/28/2019 Wagel 05                          NO
  681   RE: Setting up CSX for Growth at POV                      CSXT0074914    CSXT0074916       5/13/2019 Capozzi 23; Warren 15             NO
  682   RE: Setting up CSX for Growth at POV                      CSXT0074917    CSXT0074919       5/14/2019 Kenney_18                         F, H, DH
  683   RE: COSCO Slides                                          CSXT0074937    CSXT0074938       5/15/2019 Strongosky_01                     F, H
  684   Cosco Slides 05152019 pptx                                CSXT0074939    CSXT0074939       5/15/2019 Strongosky 01                     F, H
  685   COSCO Final Docs                                          CSXT0165109    CSXT0165109       5/15/2019 Marvel 05                         IN
  686   Cosco Slides 05152019 pdf                                 CSXT0165110    CSXT0165124       5/15/2019 Marvel 05                         F
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 12 of 13 PageID# 14899
                                                                 Exhibit C - NS Amended Exhibit List



  687   Cosco Slides 05152019 pptx                             CSXT0165125    CSXT0165125        5/15/2019 Marvel_05                           F
  688   Transit comparison 05152019 xlsx                       CSXT0165126    CSXT0165126        5/15/2019 Marvel_05                           F
  689   RE: Recap of conf call                                 CSXT0074973    CSXT0074975        5/17/2019 Warren 16                           F, H
  690   FW: Collaboration                                      CSXT0075507    CSXT0075508        6/27/2019 Warren 17                           F, H
                                                               VIT_NPBL
  691   VIT NPBL 000005 pdf                                    000005         VIT NPBL 000006     7/2/2019 Capozzi 09                          NO
  692   RE: CSX visit to ONE HQ in Singapore                   CSXT0165776    CSXT0165777        7/16/2019 Kenney_210326_01                    F, H
  693   Hapag FINAL 2 6 19 pptx                                CSXT0165778    CSXT0165778        7/16/2019 Kenney_210326_01                    F, H
  694   VIT CSX Lift and Drayage Agreement Eff July 2019 pdf   CSXT0076242    CSXT0076242        7/31/2019 Girardot 25; Kenney 08              F, H
                                                                                                           Capozzi_10; Girardot_25;
  695   VIT CSX Lift and Drayage Agreement Eff July 2019 pdf   CSXT0076243    CSXT0076244        7/31/2019 Kenney 08                           F, H
  696   Commonwealth Contract 11012015 thru 10312020 pdf       CSXT0076247    CSXT0076250        7/31/2019 Girardot 30(b)(6) 24                NO
  697   RE: VA ports costing                                   CSXT0004020    CSXT0004021         8/5/2019 Wagel 03                            NO
  698   Profiles                                               CSXT0166012    CSXT0166012         8/5/2019 Kenney_210326_02                    F
  699   Cosco Account Profile pdf                              CSXT0166013    CSXT0166013         8/5/2019 Kenney_210326_02                    F
  700   Evergreen Account Profile pdf                          CSXT0166014    CSXT0166014         8/5/2019 Kenney 210326 02                    F
  701   Hyundai (Lotte) Account Profile pdf                    CSXT0166015    CSXT0166016         8/5/2019 Kenney 210326 02                    F
  702   ONE Account Profile pdf                                CSXT0166017    CSXT0166017         8/5/2019 Kenney 210326 02                    F
  703   OOCL Account Profile pdf                               CSXT0166018    CSXT0166018         8/5/2019 Kenney 210326 02                    F
  704   Yang Ming Account Profile pdf                          CSXT0166019    CSXT0166019         8/5/2019 Kenney_210326_02                    F
  705   APL Account Profile pdf                                CSXT0166020    CSXT0166020         8/5/2019 Kenney_210326_02                    F
  706   CMA Account Profile pdf                                CSXT0166021    CSXT0166021         8/5/2019 Kenney 210326 02                    F
  707   Fwd: [E]What's going on with intermodal?               CSXT0124226    CSXT0124229        9/12/2019 Kenney 02                           F, H, CON, M
        CSX Data - CONFIDENTIAL SUBJECT TO NON
  708   DISCLOSURE                                             CSXT0154661    CSXT0154661        10/1/2019 Warren 18                           F, H
  709   Portsmouth xlsx                                        CSXT0154662    CSXT0154662        10/1/2019 Warren_18                           F, H
        FW: Howard Street Tunnel Project - 2019 INFRA Grant
  710   Program                                                CSXT0124256    CSXT0124262        10/3/2019 Warren 07                           F, IR, H, CON, P
  711   RE: Cincinnati + Columbus to Charleston                CSXT0077825    CSXT0077829        10/8/2019                                     F, H
  712   RE: PNCT/EZMT concerns for Maersk                      CSXT0077865    CSXT0077873        10/9/2019 Wagel 04                            F, H, CON
  713   [E]CSX-POV                                             CSXT0153575    CSXT0153575       10/16/2019 Warren 19                           F, H, M, CON, P
  714   CSX-POV Project Benefits docx                          CSXT0153576    CSXT0153579       10/16/2019 Warren_19                           F, H, M, CON, P
  715   RE: CSX Volumes                                        CSXT0154770    CSXT0154772        11/1/2019 Wagel_02                            H
  716   RE: Follow up                                          CSXT0154780    CSXT0154781        11/7/2019 Warren 20                           F, H, M, CON, P
  717   FW: Ports America Chesapeake CSXIT 2019 MOU            CSXT0202979    CSXT0202981       11/11/2019 Kenney 210326 05                    F, CON, M, P
        2019 PAC CSX MEMORANDUM OF
  718   UNDERSTANDING 11-08-19 docx                            CSXT0202982    CSXT0202989       11/11/2019 Kenney 210326 05                    F, CON, M, P
        Redline - 2019 PAC CSX MEMORANDUM OF
  719   UNDERSTANDING 11-08-19 docx                            CSXT0202990    CSXT0202998       11/11/2019 Kenney_210326_05                    F, CON, M, P

  720   Annual Capacity by Terminal                            SDT RES 000260 SDT RES 000261    12/31/2019 Capozzi 12                          NO
  721   NPBL Annual Report 2019                                NPBL027926     NPBL027946        12/31/2019                                     NO
        CSXT International Shipping Container Movements: 2009-
  722   2019                                                                                    12/31/2019 Girardot One 15                     F, CON, M, IE

  723   Map - Container Yards and Port                         SDT RES 000021 SDT RES 000021      1/7/2020 Capozzi_02                          NO

  724   Map - NIT Overall Rail Plan                            SDT RES 000023 SDT RES 000023      1/7/2020 Capozzi 02                          NO

  725   Map - NIT                                              SDT RES 000025 SDT RES 000025      1/7/2020 Capozzi 02                          NO

  726   Rail: Our Competitive Advantage                        SDT RES 000101 SDT RES 000111      1/7/2020 Capozzi_08                          NO

  727   The Port of Virginia - Advantages                      SDT RES 000127 SDT RES 000166      1/7/2020 Capozzi 06                          NO

  728   Virginia Advantages                                    SDT RES 000195 SDT RES 000246      1/7/2020 Capozzi 07                          NO
  729   Rail: Our Competitive Advantage                        VPA001007      VPA001017           1/7/2020 Vick 30(b)(6)_02                    NO
  730   2020 01 16 CSX Q4 2019                                                                   1/16/2020 Strongosky 5                        F, H, CON
                                                                                                           Girardot 30(b)(6) 2; Girardot One
  731   Declaration of Robert Girardot                                                           2/21/2020 12                                  NO
  732   Declaration of Carl Warren                                                               2/21/2020 Warren 1                            NO
  733   NPBL028327 - 28361 Wilmington pdf                        NPBL028327   NPBL028361         10/1/2020 Girardot 210317 11                  F, H
  734   NPBL028240 -28277 Jacksonville pdf                       NPBL028240   NPBL028277         11/4/2020 Girardot 210317 09                  F, H
  735   Press Release - Ingram named COO                                                        11/18/2020 Ingram 1                            NO
        2020-12-02 Intermodal 101: An Introduction to Intermodal
  736   Rail                                                                                     12/2/2020 Girardot One 1                      F
  737   CSXT Intermodal Rail 101 Part One - CSXT Intermodal                                      12/2/2020 Strongosky 4                        F
  738   CSX Intermodal 101: an Introduction to Intermodal                                        12/2/2020 Warren 2                            F
  739   NPBL028324 - 28326 Savannah pdf                          NPBL028324   NPBL028326         1/10/2021 Girardot 210317 12                  F, H
  740   NPBL028362 - 28364 Wilmington pdf                        NPBL028362   NPBL028364         1/11/2021 Girardot_210317_10                  F, H
  741   Declaration of Chris Wagel                                                               2/21/2021 Wagel 1                             NO
  742   NPBL028278 - 28315 Jacksonville pdf                      NPBL028278   NPBL028315          3/1/2021 Girardot 210317 08                  F, H
  743   Second Declaration of Robert Girardot                                                     3/5/2021 Girardot Two 7                      NO
        CSXT Rule 26(a)(1) Initial Disclosures and any
  744   supplements thereto                                                                                                                    ID, IR, C
        CSXT Responses to NPBLs Requests for Admission and
  745   any supplements thereto                                                                                                                ID, IR, C
        CSXT Responses to NPBLs Requests for Production and
  746   any supplements thereto                                                                                                                ID, IR, C
        CSXT Responses to NPBLs Interrogatories and any
  747   supplements thereto                                                                                                                    ID, IR, C
        CSXT Responses to NSR's Requests for Admission and
  748   any supplements thereto                                                                                                                ID, IR, C
Case 2:18-cv-00530-MSD-RJK Document 598-3 Filed 01/13/23 Page 13 of 13 PageID# 14900
                                                                        Exhibit C - NS Amended Exhibit List



        CSXT Responses to NSR's Requests for Production and
  749   any supplements thereto                                                                                    ID, IR, C
        CSXT Responses to NSR's Interrogatories and any
  750   supplements thereto                                                                                        ID, IR, C
  751   CSXT Privilege Log - Filtered for Burns                                                                    IR, CON, P, M
  752   CSXT Privilege Log - Filtered for Armbrust                                                                 IR, CON, P, M
        Photos of the Port of Virginia, including photos showing
        Norfolk International Terminal and Virginia International
  753   Gateway                                                                                                    NO
        Video of Port of Virginia, including video showing
  754   Norfolk International Terminal and Virginia International                                                  NO
  755   Photos of the Port of New York New Jersey                                                                  NO
  756   Photos of the Port of Charleston                                                                           NO
  757   Photos of the Port of Savannah                                                                             NO
  758   Photos of the Port of Jacksonville                                                                         NO
  759   Official Commonwealth of Virginia Railroad Map                                                             NO
        Maps showing railroad access to terminals of the Port of
  760   Virginia                                                                                                   NO
  761   Master Rail Plan for the Port of Virginia (2015)                                                           NO
        CSX Annual Reports, 10-K, and Proxy Statements (2012
  762   to present)                                                                                                F, IR, M, CON, P, H
        CSX Fiscal Year 2022 Quarterly Reports 2022 (including
  763   Financial Report, Form 10-Q, and Presentations)                                                            F, IR, M, CON, P, H
  764   CSX Volumn Trends (2014, 2018, 2021, 2022)                                                                 F, IR
  765   CSX System Map                                                                                             NO
  766   Photos of NPBL                                                                                             NO
  767   Photos of Norfolk Southern Trains & Infrastructure                                                         NO
  768   Norfolk Southern System Map                                                                                NO
  769   NPBL Switching Tariff 8100-j                                                                               NO
                                                                                                                   M, CON, IE, H, DH,
  770   Thomas D Crowley Expert Report - Table 1                                                                   F, MIL
                                                                                                                   M, CON, IE, H, DH,
  771   Thomas D Crowley Expert Report - Table 2                                                                   F, MIL
                                                                                                                   M, CON, IE, H, DH,
  772   Thomas D Crowley Expert Report - Table 3                                                                   F, MIL
  773   Matthew B Wright Expert Report - Table 1                                                                   F, M, CON, H, DH
  774   Matthew B Wright Expert Report - Table 2                                                                   F, M, CON, H, DH
  775   Matthew B Wright Expert Report - Table 3                                                                   F, M, CON, H, DH
  776   Matthew B Wright Expert Report - Table 4                                                                   F, M, CON, H, DH
  777   Matthew B Wright Expert Report - Table 5                                                                   F, M, CON, H, DH
  778   Matthew B Wright Expert Report - Table 6                                                                   F, M, CON, H, DH
  779   Matthew B Wright Expert Report - Table 7                                                                   F, M, CON, H, DH
  780   Matthew B Wright Expert Report - Table 8                                                                   F, M, CON, H, DH
  781   Matthew B Wright Expert Report - Table 9                                                                   F, M, CON, H, DH
  782   Matthew B Wright Expert Report - Table 10                                                                  F, M, CON, H, DH
  783   Matthew B Wright Expert Report - Table 11                                                                  F, M, CON, H, DH
  784   Matthew B Wright Expert Report - Table 12                                                                  F, M, CON, H, DH
  785   Matthew B Wright Expert Report - Table 13                                                                  F, M, CON, H, DH
  786   Matthew B Wright Expert Report - Table 14                                                                  F, M, CON, H, DH
  787   Matthew B Wright Expert Report - Chart 1                                                                   F, M, CON, H, DH
  788   Matthew B Wright Expert Report - Chart 2                                                                   F, M, CON, H, DH
  789   Matthew B Wright Expert Report - Chart 3                                                                   F, M, CON, H, DH
  790   Matthew B Wright Expert Report - Chart 4                                                                   F, M, CON, H, DH
  791   Matthew B Wright Expert Report - Chart 5                                                                   F, M, CON, H, DH
  792   Matthew B Wright Expert Report - Chart 6                                                                   F, M, CON, H, DH
  793   Matthew B Wright Expert Report - Figure 1 (p 17)                                                           F, M, CON, H, DH
        Matthew B Wright Expert Report - Figure 1 (second, p
  794   56)                                                                                                        F, M, CON, H, DH
  795   Matthew B Wright Expert Report - Figure 2                                                                  F, M, CON, H, DH
  796   Matthew B Wright Expert Report - Appendix A: Maps                                                          F, M, CON, H, DH
        Matthew B Wright Expert Report - Norfolk Southern's
  797   Intermodal Rail Network Graphic, p 18                                                                      F, M, CON, H, DH
        Matthew B Wright Expert Report - Norfolk Southern's
  798   Hartland Corridor Graphic, p 20                                                                            F, M, CON, H, DH
        Matthew B Wright Expert Report - CSXT Transportation's
  799   Intermodal Rail Network Graphic, p 21                                                                      F, M, CON, H, DH
        Matthew B Wright Expert Report - CSXT's National
  800   Gateway Corridor Graphic, p 24                                                                             F, M, CON, H, DH
  801   Matthew B Wright Supplemental Expert Report - Chart 1                                                      F, M, CON, H, DH
        STB Docket No AB-290 (Sub-No 299X) and STB
        Docket No AB-1024X (Decided: May 6, 2008; Service
  802   Date: May 15, 2008)                                                                                        NO
        STB Docket No AB-290 (Sub-No 299X) (filed Apr 25,
  803   2008)                                                                                                      NO
  804   STB Docket No AB-1024X (filed Apr 25, 2008)                                                                NO
  805   Joseph Bonney, CSX Raises the Roof, JOC com                                                 10/18/2010   F, H, IR, CON, M
        Ari Ashe, "Virginia port service shuffle promises faster rail
  806   flow," JOC com                                                                                 8/23/2019   F, H, IR, CON, M
  807   CSX Waybill Data                                                                                           NO
  808   NSR Waybill Data                                                                                           NO
